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                                                                                     ADRMOP,CONSOL
                                   U.S. District Court
                      California Northern District (San Francisco)
                   CIVIL DOCKET FOR CASE #: 3:23−cv−02132−WHA

Rosa et al v. Brightline, Inc.                                 Date Filed: 05/02/2023
Assigned to: Judge William Alsup                               Jury Demand: Plaintiff
Demand: $5,000,000,000                                         Nature of Suit: 890 Other Statutory
Cause: 28:1331 Fed. Question                                   Actions
                                                               Jurisdiction: Federal Question
Plaintiff
Terrance Rosa                                 represented by John A. Yanchunis
individually and on behalf of all others                     Morgan and Morgan, P.A.
similarly situated                                           201 N. Franklin Street, 7th Floor
                                                             Tampa, FL 33602
                                                             (813) 275−5272
                                                             Email: jyanchunis@forthepeople.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                               Marcio William Valladares
                                                               Morgan and Morgan Complex Litigation
                                                               Group
                                                               201 N. Franklin Street
                                                               7th Floor
                                                               Tampa, FL 33602
                                                               813−223−5505
                                                               Email: mvalladares@forthepeople.com
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Ra Olusegun Amen
                                                               Morgan and Morgan
                                                               Complex Litigation Group
                                                               201 N Franklin Street, 7th Floor
                                                               Tampa, FL 33602
                                                               (813) 424−5613
                                                               Email: ramen@forthepeople.com
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Mason Barney
                                                               Siri & Glimstad LLP
                                                               745 Fifth Avenue
                                                               Suite 500
                                                               New York, NY 10151
                                                               212−532−1091
                                                               Email: mbarney@sirillp.com
                                                               ATTORNEY TO BE NOTICED

                                                               Michael Francis Ram
                                                               Morgan & Morgan
                                                               Complex Litigation Group
                                                               711 Van Ness Avenue, Suite 500
                                                               San Francisco, CA 94102
                                                               (415) 358−6913
                                                               Fax: (415) 358−6923
                                                               Email: MRam@forthepeople.com
                                                               ATTORNEY TO BE NOTICED

Plaintiff
                                              represented by
        Case MDL No. 3090            Document 1-4   Filed 10/16/23      Page 2 of 69

Ryan Watson                                                  John A. Yanchunis
individually and on behalf of all others                     (See above for address)
similarly situated                                           PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Marcio William Valladares
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Ra Olusegun Amen
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Mason Barney
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Michael Francis Ram
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


V.
Consol Plaintiff
Donisha Jackson                               represented by Kyle Douglas McLean
                                                             Siri & Glimstad LLP
                                                             700 S. Flower Street, Suite 1000
                                                             Los Angeles, CA 90017
                                                             213−376−3739
                                                             Email: kmclean@sirillp.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Mason Barney
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Tyler James Bean
                                                             Siri & Glimstad LLP
                                                             745 Fifth Avenue
                                                             Suite 500
                                                             New York, NY 10151
                                                             212−532−1097
                                                             Email: tbean@sirillp.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

Consol Plaintiff
Anthony Ndifor                                represented by Brian P. Murray
                                                             Glancy Prongay & Murray LLP
                                                             230 Park Avenue
                                                             Suite 358
                                                             New York, NY 10169
                                                             212− 682−5340
                                                             Fax: 212−884−0988
                                                             Email: bmurray@glancylaw.com
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
        Case MDL No. 3090            Document 1-4   Filed 10/16/23      Page 3 of 69


                                                             Jon A. Tostrud
                                                             Tostrud Law Group, P.C.
                                                             1925 Century Park East, Suite 2100
                                                             Los Angeles, CA 90067
                                                             (310) 278−2600
                                                             Fax: (310) 278−2640
                                                             Email: jtostrud@tostrudlaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Michael Francis Ram
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Mason Barney
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Consol Plaintiff
Kyle Castro                                   represented by Caren P. Sencer
as father and next friend of E.N.C., C.J.C.                  Weinberg, Roger & Rosenfeld
and E.J.C.                                                   A Professional Corporation
                                                             1375 55th Street
                                                             Emeryville, CA 94608
                                                             (510) 337−1001
                                                             Fax: 510−337−1023
                                                             Email: csencer@unioncounsel.net
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Michael J. Wall
                                                             Herzfeld, Suetholz, Gastel, Leniski and
                                                             Wall PLLC
                                                             223 Rosa L. Parks Ave
                                                             Ste 300
                                                             Nashville, TN 37203
                                                             615−800−6225
                                                             Fax: 615−994−8625
                                                             Email: michael@hsglawgroup.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Peter James Jannace
                                                             Herzfeld, Suetholz, Gastel, Leniski and
                                                             Wall, PLLC
                                                             515 Park Avenue
                                                             Louisville, KY 40208
                                                             646−783−9810
                                                             Email: peter@hsglawgroup.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Mason Barney
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
Brightline, Inc.                              represented by Anne Margaret Voigts
                                                             King & Spalding LLP
                                                             601 South California Avenue, Suite 100
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                                                              Palo Alto, CA 94304
                                                              (650) 422−6710
                                                              Fax: (650) 422−6800
                                                              Email: avoigts@kslaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Charles Spalding , Jr
                                                              King & Spalding LLP
                                                              1180 Peachtree Street, NE
                                                              Suite 1600
                                                              Atlanta, GA 30309
                                                              404−572−4600
                                                              Email: cspalding@kslaw.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Elizabeth Adler
                                                              King & Spalding
                                                              1180 Peachtree Street
                                                              Suite 1700
                                                              Atlanta, GA 30309
                                                              404−572−5104
                                                              Email: eadler@kslaw.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Phyllis B. Sumner
                                                              King & Spalding
                                                              1180 Peachtree St. NE
                                                              Atlanta, GA 30309
                                                              404−572−4799
                                                              Email: psumner@kslaw.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Samuel R. Diamant
                                                              King & Spalding LLP
                                                              50 California Street, Suite 3300
                                                              San Francisco, CA 94111
                                                              (415) 318−1200
                                                              Fax: (415) 318−1300
                                                              Email: sdiamant@kslaw.com
                                                              ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
05/02/2023   1 COMPLAINT with Jury Demand against Brightline, Inc. ( Filing fee $ 402, receipt
               number ACANDC−18225556.). Filed by Terrance Rosa, Ryan Watson. (Attachments:
               # 1 Civil Cover Sheet)(Ram, Michael) (Filed on 5/2/2023) Modified on 5/3/2023 (anj,
               COURT STAFF). (Entered: 05/02/2023)
05/02/2023   2 Proposed Summons. (Ram, Michael) (Filed on 5/2/2023) (Entered: 05/02/2023)
05/02/2023   3 Case assigned to Magistrate Judge Donna M. Ryu.

                 Counsel for plaintiff or the removing party is responsible for serving the Complaint or
                 Notice of Removal, Summons and the assigned judge's standing orders and all other
                 new case documents upon the opposing parties. For information, visit E−Filing A New
                 Civil Case at http://cand.uscourts.gov/ecf/caseopening.

                 Standing orders can be downloaded from the court's web page at
                 www.cand.uscourts.gov/judges. Upon receipt, the summons will be issued and
                 returned electronically. A scheduling order will be sent by Notice of Electronic Filing
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                 (NEF) within two business days. Consent/Declination due by 5/16/2023. (bar, COURT
                 STAFF) (Filed on 5/2/2023) (Entered: 05/02/2023)
05/02/2023    4 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18225678.) filed by Terrance Rosa, Ryan Watson. (Attachments: # 1
                Exhibit Florida Certificate of Good Standing, # 2 Exhibit Texas Certificate of Good
                Standing)(Yanchunis, John) (Filed on 5/2/2023) (Entered: 05/02/2023)
05/02/2023    5 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18225730.) filed by Terrance Rosa, Ryan Watson. (Attachments: # 1
                Exhibit Certificate of Good Standing)(Valladares, Marcio) (Filed on 5/2/2023)
                (Entered: 05/02/2023)
05/03/2023    6 Summons Issued as to Brightline, Inc.. (anj, COURT STAFF) (Filed on 5/3/2023)
                (Entered: 05/03/2023)
05/03/2023    7 Initial Case Management Scheduling Order with ADR Deadlines: Case
                Management Statement due by 8/9/2023. Initial Case Management Conference
                set for 8/16/2023 01:30 PM in Oakland, Courtroom 4, 3rd Floor. (anj, COURT
                STAFF) (Filed on 5/3/2023) (Entered: 05/03/2023)
05/03/2023    8 ORDER by Chief Magistrate Judge Donna M. Ryu granting 4 John A.
                Yanchunis' Motion for admission Pro Hac Vice. (ig, COURT STAFF) (Filed on
                5/3/2023) (Entered: 05/03/2023)
05/03/2023    9 ORDER by Chief Magistrate Judge Donna M. Ryu granting 5 Marcio W.
                Valladares' Motion for admission Pro Hac Vice. (ig, COURT STAFF) (Filed on
                5/3/2023) (Entered: 05/03/2023)
05/16/2023   10 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Terrance
                Rosa, Ryan Watson.. (Yanchunis, John) (Filed on 5/16/2023) (Entered: 05/16/2023)
05/16/2023   11 CLERK'S NOTICE OF IMPENDING REASSIGNMENT TO A U.S. DISTRICT
                COURT JUDGE: The Clerk of this Court will now randomly reassign this case to a
                District Judge because either (1) a party has not consented to the jurisdiction of a
                Magistrate Judge, or (2) time is of the essence in deciding a pending judicial action for
                which the necessary consents to Magistrate Judge jurisdiction have not been secured.
                You will be informed by separate notice of the district judge to whom this case is
                reassigned.

                 ALL HEARING DATES PRESENTLY SCHEDULED BEFORE THE CURRENT
                 MAGISTRATE JUDGE ARE VACATED AND SHOULD BE RE−NOTICED FOR
                 HEARING BEFORE THE JUDGE TO WHOM THIS CASE IS REASSIGNED.

                 This is a text only docket entry; there is no document associated with this notice. (ig,
                 COURT STAFF) (Filed on 5/16/2023) (Entered: 05/16/2023)
05/17/2023   12 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random,
                and blind system pursuant to General Order No. 44 to Judge William Alsup for
                all further proceedings. Chief Magistrate Judge Donna M. Ryu no longer
                assigned to case. Notice: The assigned judge participates in the Cameras in the
                Courtroom Pilot Project. See General Order No. 65 and
                http://cand.uscourts.gov/cameras. Signed by Clerk on 05/17/2023. (Attachments:
                # 1 Notice of Eligibility for Video Recording)(bar, COURT STAFF) (Filed on
                5/17/2023) (Entered: 05/17/2023)
05/18/2023   13 NOTICE AND ORDER RE PUTATIVE CLASS ACTION. Signed by Judge
                William Alsup. (whalc4, COURT STAFF) (Filed on 5/18/2023) (Entered:
                05/18/2023)
05/19/2023   14 CLERK'S NOTICE SCHEDULING INITIAL CASE MANAGEMENT
                CONFERENCE ON REASSIGNMENT: Joint Case Management Statement due
                by 8/3/2023. Initial Case Management Conference reset for 8/10/2023 11:00 AM
                in San Francisco, Courtroom 12, 19th Floor. Parties may download Judge Alsup's
                standing orders from the Court's webpage:
                https://cand.uscourts.gov/judges/alsup−william−wha/. (This is a text−only entry
                generated by the court. There is no document associated with this entry.) (afm,
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                 COURT STAFF) (Filed on 5/19/2023) (Entered: 05/19/2023)
06/05/2023   15 STIPULATION of Extension of Time for Defendant to Respond to Initial Complaint
                filed by Brightline, Inc., Ryan Watson and Terrance Rosa. (Voigts, Anne) (Filed on
                6/5/2023) Modified on 6/6/2023 (anj, COURT STAFF). (Entered: 06/05/2023)
06/05/2023   16 Certificate of Interested Entities by Brightline, Inc. (Voigts, Anne) (Filed on 6/5/2023)
                (Entered: 06/05/2023)
06/05/2023   17 Rule 7.1 Disclosures by Brightline, Inc. (Voigts, Anne) (Filed on 6/5/2023) (Entered:
                06/05/2023)
06/06/2023       Electronic filing error. Name of Interested Entities must be entered at the prompt.
                 Please re−file.

                 Re: 16 Certificate of Interested Entities filed by Brightline, Inc. (anj, COURT STAFF)
                 (Filed on 6/6/2023) (Entered: 06/06/2023)
06/06/2023   18 Certificate of Interested Entities by Brightline, Inc. identifying Other Affiliate Kevin
                Miller, Other Affiliate Ann Lamont, Other Affiliate Oak HC/FT Partners III, L.P.,
                Other Affiliate KKR Bluebird Aggregator L.P., Other Affiliate Threshold Ventures III,
                L.P., Other Affiliate GV 2021, L.P., Other Affiliate Emily Melton, Other Affiliate Ben
                Robbins, Other Affiliate Johnny Kim, Other Affiliate Naomi Allen, Other Affiliate
                Giovanni Colella, Other Affiliate Gary Alpert, Other Affiliate David Grodberg, Other
                Affiliate Aleksandra Peters, Other Affiliate Romy Saloner, Other Affiliate Myra
                Altman, Other Affiliate Amy Chen, Other Affiliate Sarah Weatherhead, Other Affiliate
                Haleigh Tebben for Brightline, Inc.. (Correction to Dkt No. 16) (Voigts, Anne) (Filed
                on 6/6/2023) (Entered: 06/06/2023)
06/09/2023   19 SUMMONS Returned Executed by Terrance Rosa, Ryan Watson. Brightline, Inc.
                served on 5/15/2023, answer due 6/5/2023. (Yanchunis, John) (Filed on 6/9/2023)
                (Entered: 06/09/2023)
06/27/2023   20 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18396958.) filed by Terrance Rosa, Ryan Watson. (Attachments: # 1
                Exhibit Certificate of Good Standing)(Amen, Ra) (Filed on 6/27/2023) (Entered:
                06/27/2023)
06/28/2023   21 ORDER by Judge William Alsup granting 20 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 6/28/2023) (Entered: 06/28/2023)
06/30/2023   22 NOTICE of Appearance by Anne Margaret Voigts − Counsel On Behalf of Defendant
                Brightline, Inc. (Voigts, Anne) (Filed on 6/30/2023) (Entered: 06/30/2023)
06/30/2023   23 Consent MOTION for Extension of Time to File Response/Reply to Class Action
                Complaint In Light of Anticipated Motion To Consolidate</i as to 15 Stipulation >
                filed by Brightline, Inc.. (Attachments: # 1 Proposed Order)(Voigts, Anne) (Filed on
                6/30/2023) Modified on 7/3/2023 (jml, COURT STAFF). (Entered: 06/30/2023)
07/06/2023   24 ORDER RE 23 MOTION FOR EXTENSION OF TIME IN LIGHT OF
                ANTICIPATED MOTION TO CONSOLIDATE. Signed by Judge William
                Alsup. (whalc4, COURT STAFF) (Filed on 7/6/2023) (Entered: 07/06/2023)
07/21/2023   25 Consent MOTION to Consolidate Cases for Pre−Trial Proceedings filed by Terrance
                Rosa, Ryan Watson. Responses due by 8/4/2023. Replies due by 8/11/2023.
                (Attachments: # 1 Proposed Order)(Yanchunis, John) (Filed on 7/21/2023) (Entered:
                07/21/2023)
07/25/2023   26 ORDER GRANTING 25 PLAINTIFFS MOTION TO CONSOLIDATE. Signed
                by Judge William Alsup. (whalc4, COURT STAFF) (Filed on 7/25/2023)
                (Entered: 07/25/2023)
07/27/2023   27 Joint Stipulation To Reset Initial Case Management Conference And Extend Related
                Deadlines filed by Brightline, Inc., Terrance Rosa and Ryan Watson. (Attachments: #
                1 Proposed Order)(Voigts, Anne) (Filed on 7/27/2023) Modified on 7/28/2023 (anj,
                COURT STAFF). (Entered: 07/27/2023)
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07/28/2023   28 ORDER by Judge William Alsup granting 27 Joint Stipulation to Continue Initial
                Case Management Conference. Joint Case Management Statement due by
                9/7/2023. Initial Case Management Conference reset for 9/14/2023 11:00 AM in
                San Francisco, Courtroom 12, 19th Floor. (afm, COURT STAFF) (Filed on
                7/28/2023) (Entered: 07/28/2023)
08/07/2023   29 MOTION to Appoint Counsel filed by Donisha Jackson. (Attachments: # 1 Exhibit
                A)(McLean, Kyle) (Filed on 8/7/2023) (Entered: 08/07/2023)
08/07/2023   30 MOTION to Appoint Counsel as Interim Co−Lead Counsel, the firms of Morgan &
                Morgan Complex Litigation Group and Glancy, Prongay & Murray LLP filed by
                Anthony Ndifor, Terrance Rosa, Ryan Watson. (Attachments: # 1 Certificate/Proof of
                Service Michael F. Ram, # 2 Exhibit A, # 3 Exhibit B, # 4 Proposed Order)(Ram,
                Michael) (Filed on 8/7/2023) (Entered: 08/07/2023)
08/07/2023   31 MOTION to Appoint Lead Plaintiff and Lead Counsel Plaintiff Kyle Castro's
                Application for Leadership Appointment filed by Kyle Castro. Responses due by
                8/21/2023. Replies due by 8/28/2023. (Attachments: # 1 Declaration Declaration of
                Peter J. Jannace, # 2 Exhibit Plaintiff Kyle Castro's Exhibit A, # 3 Exhibit Plaintiff
                Kyle Castro's Exhibit B)(Jannace, Peter) (Filed on 8/7/2023) (Entered: 08/07/2023)
08/28/2023   32 ORDER SETTING HEARING RE MOTIONS FOR APPOINTMENT AS
                INTERIM CLASS COUNSEL. Signed by Judge William Alsup. (whalc4,
                COURT STAFF) (Filed on 8/28/2023) (Entered: 08/28/2023)
08/28/2023       Set/Reset Deadlines as to (29 in 3:23−cv−02132−WHA) MOTION to Appoint
                 Counsel , (31 in 3:23−cv−02132−WHA) MOTION to Appoint Lead Plaintiff and Lead
                 Counsel Plaintiff Kyle Castro's Application for Leadership Appointment, (30 in
                 3:23−cv−02132−WHA) MOTION to Appoint Counsel as Interim Co−Lead Counsel,
                 the firms of Morgan & Morgan Complex Litigation Group and Glancy, Prongay &
                 Murray LLP. Motion Hearing reset for 9/14/2023 11:00 AM in San Francisco,
                 Courtroom 12, 19th Floor before Judge William Alsup. (afm, COURT STAFF) (Filed
                 on 8/28/2023) (Entered: 08/28/2023)
08/29/2023   33 CLERK'S NOTICE ADVANCING INITIAL CASE MANAGEMENT
                CONFERENCE AND MOTION HEARINGS RE: 29 30 31 MOTIONS TO
                APPOINT COUNSEL FROM 9/14/2023 TO SPECIALLY SET 9/13/2023 AT
                10:00AM: Motion hearings re 29 MOTION to Appoint Counsel , 31 MOTION to
                Appoint Lead Plaintiff and Lead Counsel Plaintiff Kyle Castro's Application for
                Leadership Appointment, 30 MOTION to Appoint Counsel as Interim Co−Lead
                Counsel, the firms of Morgan & Morgan Complex Litigation Group and Glancy,
                Prongay & Murray LLP and Initial Case Management Conference ADVANCED
                to specially set date 9/13/2023 10:00 AM in San Francisco, Courtroom 12, 19th
                Floor. (This is a text−only entry generated by the court. There is no document
                associated with this entry.)(afm, COURT STAFF) (Filed on 8/29/2023) (Entered:
                08/29/2023)
08/30/2023   34 MOTION to Continue / Reset Initial Case Management Conference and Extend
                Related Deadlines filed by Brightline, Inc.. (Attachments: # 1 [Proposed] Order
                Granting Unopposed Motion)(Voigts, Anne) (Filed on 8/30/2023) (Entered:
                08/30/2023)
08/31/2023   35 CLERK'S NOTICE RESCHEDULING INITIAL CASE MANAGEMENT
                CONFERENCE FROM 9/13/2023 TO 10/26/2023 AT 11:00AM: Joint Case
                Management Statement due by 10/19/2023. Initial Case Management Conference
                reset for 10/26/2023 11:00 AM in San Francisco, Courtroom 12, 19th Floor. (This
                is a text−only entry generated by the court. There is no document associated with
                this entry.)(afm, COURT STAFF) (Filed on 8/31/2023) (Entered: 08/31/2023)
09/08/2023   36 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18625276.) filed by Donisha Jackson. (Attachments: # 1 Certificate of
                Good Standing)(Barney, Mason) (Filed on 9/8/2023) (Entered: 09/08/2023)
09/08/2023   37 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18625392.) filed by Donisha Jackson. (Attachments: # 1 Certificate of
                Good Standing)(Bean, Tyler) (Filed on 9/8/2023) (Entered: 09/08/2023)
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09/08/2023   38 ORDER by Judge William Alsup denying 36 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/8/2023) (Entered: 09/08/2023)
09/08/2023   39 ORDER by Judge William Alsup denying 37 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/8/2023) (Entered: 09/08/2023)
09/08/2023   40 Amended MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt
                number ACANDC−18625392.) Filing fee previously paid on August 8, 2023 filed by
                Donisha Jackson. (Attachments: # 1 Certificate of Good Standing)(Bean, Tyler) (Filed
                on 9/8/2023) (Entered: 09/08/2023)
09/08/2023   41 Amended MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt
                number ACANDC−18625276.) Filing fee previously paid on August 8, 2023 filed by
                Donisha Jackson. (Attachments: # 1 Certificate of Good Standing)(Barney, Mason)
                (Filed on 9/8/2023) (Entered: 09/08/2023)
09/08/2023   42 ORDER by Judge William Alsup granting 40 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/8/2023) (Entered: 09/08/2023)
09/08/2023   43 ORDER by Judge William Alsup granting 41 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/8/2023) (Entered: 09/08/2023)
09/11/2023   44 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18628849.) filed by Anthony Ndifor. (Attachments: # 1 Certificate of
                Good Standing)(Murray, Brian) (Filed on 9/11/2023) (Entered: 09/11/2023)
09/11/2023   45 ORDER by Judge William Alsup granting 44 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/11/2023) (Entered: 09/11/2023)
09/11/2023   46 NOTICE of Appearance by Samuel R. Diamant (Diamant, Samuel) (Filed on
                9/11/2023) (Entered: 09/11/2023)
09/13/2023   47 Minute Entry for proceedings held before Judge William Alsup:

                 Motion Hearing held on 9/13/2023 re Motions to Appoint Counsel. Parties
                 proffered argument. Court takes motions under submission. Written order to
                 issue.

                 Total Time in Court: 10:04 − 10:41 = 37 Minutes.
                 Court Reporter: Kelly Shainline.

                 Plaintiff Attorneys: John Yanchunis, Brian Murray, Caren Sencer, Peter
                 Jannace.
                 Defendant Attorney: Sam Diamant.

                 (This is a text−only entry generated by the court. There is no document associated
                 with this entry.) (afm, COURT STAFF) (Date Filed: 9/13/2023) (Entered:
                 09/13/2023)
09/13/2023   48 TRANSCRIPT ORDER for proceedings held on 09/13/2023 before Judge William
                Alsup by Brightline, Inc., for Court Reporter Kelly Shainline. (Diamant, Samuel)
                (Filed on 9/13/2023) (Entered: 09/13/2023)
09/15/2023   49 Transcript of Proceedings held on 9/13/2023, before Judge William H. Alsup. Court
                Reporter/Transcriber Kelly Shainline, Official Court Reporter, telephone number (510)
                828−9404, E−mail kelly_shainline@cand.uscourts.gov. Per General Order No. 59 and
                Judicial Conference policy, this transcript may be viewed only at the Clerk's Office
                public terminal or may be purchased through the Court Reporter/Transcriber until the
                deadline for the Release of Transcript Restriction. After that date it may be obtained
                through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                later than 5 business days from date of this filing. (Re 48 Transcript Order ) Release of
                Transcript Restriction set for 12/14/2023. (Related documents(s) 48 ) (Shainline,
                Kelly) (Filed on 9/15/2023) (Entered: 09/15/2023)
09/18/2023   50 ORDER RE 29 , 30 , 31 MOTIONS FOR APPOINTMENT AS INTERIM
                CLASS COUNSEL. Signed by Judge William Alsup. (whalc4, COURT STAFF)
                (Filed on 9/18/2023) (Entered: 09/18/2023)
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09/26/2023   51 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18682077.) filed by Brightline, Inc.. (Attachments: # 1 Certificate of Good
                Standing)(Sumner, Phyllis) (Filed on 9/26/2023) (Entered: 09/26/2023)
09/26/2023   52 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18682092.) filed by Brightline, Inc.. (Attachments: # 1 Certificate of Good
                Standing)(Adler, Elizabeth) (Filed on 9/26/2023) (Entered: 09/26/2023)
09/26/2023   53 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number
                ACANDC−18682097.) filed by Brightline, Inc.. (Attachments: # 1 Certificate of Good
                Standing)(Spalding, Charles) (Filed on 9/26/2023) (Entered: 09/26/2023)
09/29/2023   54 ORDER by Judge William Alsup granting 51 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/29/2023) (Entered: 09/29/2023)
09/29/2023   55 ORDER by Judge William Alsup granting 52 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/29/2023) (Entered: 09/29/2023)
09/29/2023   56 ORDER by Judge William Alsup granting 53 Motion for Pro Hac Vice. (afm,
                COURT STAFF) (Filed on 9/29/2023) (Entered: 09/29/2023)
10/02/2023   57 AMENDED COMPLAINT against All Defendants. Filed by Terrance Rosa, Anthony
                Ndifor, Kyle Castro, Ryan Watson, Donisha Jackson. (Barney, Mason) (Filed on
                10/2/2023) Modified on 10/3/2023 (anj, COURT STAFF). (Entered: 10/02/2023)
10/05/2023   58 ADR Certification (ADR L.R. 3−5 b) of discussion of ADR options (Spalding,
                Charles) (Filed on 10/5/2023) (Entered: 10/05/2023)
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                        IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

    TERRANCE ROSA and RYAN
    WATSON, individually and on behalf of                   Case No.
    all others similarly situated,
                                  Plaintiffs,
                                                            CLASS ACTION COMPLAINT
    v.
    BRIGHTLINE, INC.,
                                                            JURY TRIAL DEMANDED
                                  Defendant.



          Plaintiffs Terrance Rosa and Ryan Watson, individually and on behalf of all others

similarly situated, bring this action against Brightline, Inc. (“Brightline”). The following

allegations are based on Plaintiffs’ knowledge, investigations of counsel, facts of public

record, and information and belief.

                                    NATURE OF THE ACTION

          1.      Plaintiffs seek to hold Brightline responsible for the injuries Brightline

inflicted on Plaintiffs and approximately 27,7421 similarly situated persons (“Class

Members”) due to Brightline’s impermissibly inadequate data security, which caused the

personal information of Plaintiffs and those similarly situated to be exfiltrated by

unauthorized access by cybercriminals (the “Data Breach” or “Breach”) between January

28, 2023 and January 30, 2023.2 Upon information and belief, the cybercriminals who


1
    https://apps.web.maine.gov/online/aeviewer/ME/40/0461b276-a513-41ae-a587-c06c971a7d9b.shtml (last
accessed April 18, 2023).
2
    Id.
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perpetrated the Breach are a Russian linked hacker/ransomware group responsible for

numerous other hacking events.3

       2.     The data that Brightline caused to be exfiltrated by cybercriminals were

highly sensitive. Upon information and belief, the exfiltrated data included personal

identifying information (“PII”) like individuals’ names, addresses, dates of birth, member

identification numbers, date of health plan coverage, Social Security numbers, and/or

employer names.

       3.     Upon information and belief, prior to and through the date of the Data

Breach, Brightline obtained Plaintiffs’ and Class Members’ PII and PHI and then

maintained that sensitive data in a negligent and/or reckless manner. As evidenced by the

Data Breach, Brightline inadequately maintained its network, platform, and software—

rendering these easy prey for cybercriminals.

       4.     Upon information and belief, the risk of the Data Breach was known to

Brightline. Thus, Brightline was on notice that its inadequate data security created a

heightened risk of exfiltration, compromise, and theft.

       5.     Then, after the Data Breach, Brightline failed to provide timely notice to the

affected Plaintiffs and Class Members—thereby exacerbating their injuries. Ultimately,

Brightline deprived Plaintiffs and Class Members of the chance to take speedy measures

to protect themselves and mitigate harm. Simply put, Brightline impermissibly left


3
 https://www.scmagazine.com/news/ransomware/clop-ransomware-hack-of-fortra-
goanywhere-mft-hits-1m-chs-patients (last accessed on April 5, 2023);
https://www.aha.org/news/headline/2023-02-23-hhs-russia-linked-ransomware-group-
claims-continued-health-care-attacks (last accessed on April 5, 2023).
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Plaintiffs and Class Members in the dark—thereby causing their injuries to fester and the

damage to spread.

       6.      Even when Brightline finally notified Plaintiffs and Class Members of their

PII and PHI’s exfiltration, Brightline failed to adequately describe the Data Breach and its

effects.

       7.      Today, the identities of Plaintiffs and Class Members are in jeopardy—all

because of Brightline’s negligence. Plaintiffs and Class Members now suffer from a

heightened and imminent risk of fraud and identity theft and must now constantly monitor

their financial accounts.

       8.      Armed with the PII and PHI stolen in the Data Breach, criminals can commit

a litany of crimes. Specifically, criminals can now open new financial accounts in Class

Members’ names, take out loans using Class Members’ identities, use Class Members’

names to obtain medical services, use Class Members’ health information to craft phishing

and other hacking attacks based on Class Members’ individual health needs, use Class

Members’ identities to obtain government benefits, file fraudulent tax returns using Class

Members’ information, obtain driver’s licenses in Class Members’ names (but with another

person’s photograph), and give false information to police during an arrest.

       9.      And Plaintiffs and Class Members will likely suffer additional financial costs

for purchasing necessary credit monitoring services, credit freezes, credit reports, or other

protective measures to deter and detect identity theft.

       10.     Plaintiffs and Class Members have suffered—and will continue to suffer—

from the loss of the benefit of their bargain, unexpected out-of-pocket expenses, lost or
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diminished value of their PII and PHI, emotional distress, and the value of their time

reasonably incurred to mitigate the fallout of the Data Breach.

       11.    Through this action, Plaintiffs seek to remedy these injuries on behalf of

themselves and all similarly situated individuals whose PII and PHI were exfiltrated and

compromised in the Data Breach.

       12.    Plaintiffs seek remedies including, but not limited to, compensatory

damages, treble damages, punitive damages, reimbursement of out-of-pocket costs, and

injunctive relief—including improvements to Brightline’s data security systems, future

annual audits, and adequate credit monitoring services funded by Brightline.

                                        PARTIES

       13.    Plaintiff Terrance Rosa is a natural person and resident and citizen of

Philadelphia. He has no intention of moving to a different state in the immediate future.

       14.    Plaintiff Ryan Watson is a natural person and a resident and citizen of

Virginia. He has no intention of moving to a different state in the immediate future.

       15.    Defendant Brightline, Inc. is a Delaware corporation, with its principal place

of business in San Mateo, California.


                            JURISDICTION AND VENUE


       16.    This Court has original jurisdiction under the Class Action Fairness Act, 28

U.S.C. § 1332(d)(2), because this is a class action involving more than 100 putative class

members and the amount in controversy exceeds $5,000,000, exclusive of interest and
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costs. And minimal diversity is established because Plaintiffs (and many members of the

class) are citizens of states different than Brightline.

        17.      This Court has general personal jurisdiction over Brightline because

Brightline’s principal place of business and headquarters is in this District. Brightline also

regularly conducts substantial business in this District.

        18.      Venue is proper in this District under 28 U.S.C. §§ 1391(a)(2), 1391(b)(2),

and 1391(c)(2) because substantial part of the events giving rise to the claims emanated

from activities within this District, and Brightline conducts substantial business in this

District.

                                     FACTUAL ALLEGATIONS

Brightline Collected and Stored the PII and PHI of Plaintiffs and Class Members


        19.      Founded in 2019, Brightline, Inc. is a technology and telehealth services

company based in Palo Alto, California.4

        20.      Brightline employs more than 140 people and generates approximately $20

million in annual revenue.5

        21.      Brightline services are available nationwide through select plan sponsors.6

        22.      Upon information and belief, Brightline received and maintained the PII and

PHI of patients and employees of its clients, such as individuals’ names, addresses, dates




4
  https://www.jdsupra.com/legalnews/brightline-inc-announces-third-party-6211923/ (last visited April 18, 2023).
5
  Id.
6
  Id.
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of birth, member identification numbers, date of health plan coverage, and/or employer

names. These records are stored on Brightline’s computer systems.

      23.    Upon information and belief, Brightline used Fortra, LLC (“Fortra”) for

information technology management and software services, including Fortra’s file transfer

platform, GoAnywhere MFT. Within this relationship, Brightline entrusted data, including

Plaintiffs’ and Class Members PII and PHI to Fortra.

      24.    On February 1, 2023, Fortra, LLC disclosed to its customers that its file

transfer platform, GoAnywhere MFT, had been hacked, resulting the exfiltration of

customer PII and PHI, including Plaintiffs’ and Class Members PII and PHI. Brightline

then reported that it was one of the affected customers whom Fortra had notified.

      25.    Because of the highly sensitive and personal nature of the information

Brightline acquire and store, Brightline knew or reasonably should have known that it

stored protected PII and PHI and must comply with healthcare industry standards related

to data security and all federal and state laws protecting customers’ and patients’ PII and

PHI, and provide adequate notice to customers if their PII or PHI is disclosed without

proper authorization.

      26.    When Brightline collects this sensitive information, it promises to use

reasonable measures to safeguard the PII and PHI from theft and misuse.

      27.    Brightline acquired, collected, and stored, and represented that it

maintained reasonable security over Plaintiffs’ and Class Members’ PII and PHI.

      28.    By obtaining, collecting, receiving, and/or storing Plaintiffs’ and Class

Members’ PII and PHI, Brightline assumed legal and equitable duties and knew, or
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should have known, that it was thereafter responsible for protecting Plaintiffs’ and Class

Members’ PII and PHI from unauthorized disclosure.

         29.      Brightline’s Privacy Practices includes 22 purposes for which Brightline

might use and disclose patients’ medical information. None of those purposes encompass

the disclosure of that information to cybercriminals.7

         30.      Brightline’s Practices Policy states that, “The protection of your health

information is very important to us.”8

         31.      Brightline’s Privacy Policy states, “Your Personal Information is not shared

with third parties without your permission, except as described below.”9

         32.      Brightline’s Privacy Policy states, “We protect the security of the

information you provide to us with reasonable and appropriate physical, electronic, and

administrative safeguards. For certain features of our Services we use industry-standard

SSL-encryption to enhance the security of data transmissions.”10

         33.      Plaintiffs and Class Members have taken reasonable steps to maintain

the confidentiality of their PII and PHI, including but not limited to, protecting their

usernames and passwords, using only strong passwords for their accounts, and refraining

from browsing potentially unsafe websites.

         34.      Upon information and belief, Plaintiffs and Class Members relied on

Brightline to keep their PII and PHI confidential and securely maintained, to use this



7
  https://www.hellobrightline.com/privacy-practices (last visited April 18, 2023).
8
  Id.
9
  https://www.hellobrightline.com/privacy-policy (last visited April 18, 2023).
10
   Id.
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information for business and healthcare purposes only, and to make only authorized

disclosures of this information.

       35.    Brightline could have prevented or mitigated the effects of the Data

Breach by better securing its network, properly encrypting its data, or better selecting its

information technology partners.

       36.    Brightline’s negligence in safeguarding Plaintiffs’ and Class Members’

PII and PHI was exacerbated by repeated warnings and alerts directed to protecting and

securing sensitive data, as evidenced by the trending data breach attacks in recent years.

       37.    The healthcare industry in particular has experienced a large number of high-

profile cyberattacks even in just the short period preceding the filing of this Complaint, and

cyberattacks, generally, have become increasingly more common. More healthcare data

breaches were reported in 2020 than in any other year, showing a 25% increase.11

Additionally, according to the HIPAA Journal, the largest healthcare data breaches have

been reported beginning in April 2021.12

       38.    In the context of data breaches, healthcare is “by far the most affected

industry sector.”13 Further, cybersecurity breaches in the healthcare industry are

particularly devastating, given the frequency of such breaches and the fact that healthcare




11
    2020 Healthcare Data Breach Report, HIPAA JOURNAL (Jan. 19, 2021)
https://www.hipaajournal.com/2020-healthcare-data-breach-report-us/.
12
   April 2021 Healthcare Data Breach Report, HIPAA JOURNAL (May 18, 2021)
https://www.hipaajournal.com/april-2021-healthcare-data-breach-report/.
13
   Tenable Security Response Team, Healthcare Security, TENABLE (Mar. 10, 2021),
https://www.tenable.com/blog/healthcare-security-ransomware-plays-a-prominent-role-
in-covid-19-era-breaches.
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providers maintain highly sensitive and detailed PII.14 And according to the cybersecurity

firm Mimecast, 90% of healthcare organizations experienced cyberattacks in the past

year.15

          39.   Despite the prevalence of public announcements of data breaches and

data security compromises, Brightline failed to take appropriate steps to protect

Plaintiffs’ and Class Members’ PII and PHI from being compromised.

          40.   Brightline failed to properly monitor and log the ingress and egress of

network traffic.

          41.   Brightline failed to properly monitor and log file access and modifications.

          42.   Brightline failed to properly train its employees as to cybersecurity best

practices.

          43.   Brightline failed to provide fair, reasonable, or adequate computer systems

and data security practices to safeguard the PII and PHI of Plaintiffs and Class Members.

          44.   Brightline failed to timely and accurately disclose that Plaintiffs’ and Class

Members’ PII and PHI had been improperly acquired or accessed.

          45.   Brightline knowingly disregarded standard information security principles,

despite obvious risks, by allowing unmonitored and unrestricted access to unsecured PII

and PHI.




14
  See id.
15
  See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, SECURITY MAGAZINE
(Nov. 23, 2020), https://www.securitymagazine.com/articles/93988-iowa-city-hospital-
suffers-phishing-attack.
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       46.      Brightline failed to provide adequate supervision and oversight of the PII and

PHI with which it was and is entrusted, in spite of the known risk and foreseeable likelihood

of breach and misuse, which permitted an unknown third party to gather PII and PHI of

Plaintiffs and Class Members, misuse the PHI/PII and potentially disclose it to others

without consent.

       47.      Upon information and belief, Brightline failed to implement sufficient

processes to quickly detect and respond to data breaches, security incidents, or intrusions.

       48.      Upon information and belief, Brightline failed to encrypt Plaintiffs’ and

Class Members’ PII and PHI and monitor user behavior and activity to identify possible

threats.

The Data Breach

       49.      On or about March of 2023, Brightline notified the public (“Notice of Data

Breach” or “Notice”) that its customers’ data had been compromised in a Data Breach

suffered by Fortra, and informed them of the following:

       Brightline, a startup pediatric behavioral health provider, on behalf of certain
       entities identified below (“Covered Entities”), is informing impacted individuals
       about a security incident at its vendor, Fortra, that affected a limited amount of
       protected health information. Fortra is a third-party provider of file transfer services
       known as GoAnywhere MFT Software-as-a-Service. We received information
       from the Covered Entities concerning eligibility of certain individuals for our
       services and this information was stored in our account with Fortra.

       What Happened: While Fortra’s investigation is ongoing, we understand that on
       January 30, 2023, Fortra was made aware of suspicious activity within certain
       instances of its GoAnywhere MFT service. Through its investigation, Fortra states
       that it identified a previously-unknown vulnerability which an unauthorized party
       used to gain access to certain Fortra customers’ accounts and download files,
       including ours.
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           Fortra informed us about the security vulnerability in their GoAnywhere MFT
           service on February 4, 2023. We took swift action the same day in response to the
           notice. Our investigation determined the incident was limited solely to the Fortra
           service and did not impact our own network. Fortra also promptly notified law
           enforcement and is cooperating with their investigation of the Fortra incident.

           Subsequently, we determined that the unauthorized party acquired certain files that
           were saved in the Fortra service. After making this determination, we immediately
           began to analyze the files to determine which individuals and data had been affected.
           As part of that analysis, it was determined that those files contained a limited amount
           of protected health information. We then began notifying the Covered Entities of
           the incident.

           What Information Was Involved: Based on the investigation, we identified a limited
           amount of protected health information/personal information in the files that the
           unauthorized party acquired, potentially including some combination of the
           following data elements: individuals’ names, addresses, dates of birth, member
           identification numbers, date of health plan coverage, and/or employer names.16

           50.     Upon information and belief, the Notice of Data Breach was drafted and

publicized under the direction of Fortra and Brightline.

           51.     Although the Data Breach began on January 28, 2023, it was not until

January 30, 2021—two days later—that Brightline became aware of suspicious activity on

their network.

           52.     Upon information and belief, Plaintiffs’ and Class Members’ PII and PHI

was access, exfiltrated, and stolen in the Breach by a Russian linked hacker/ransomware

group.17




16
     https://www.hellobrightline.com/fortra-data-notice (last accessed on April 18, 2023).
17
  https://www.scmagazine.com/news/ransomware/clop-ransomware-hack-of-fortra-
goanywhere-mft-hits-1m-chs-patients (last accessed on April 5, 2023);
https://www.aha.org/news/headline/2023-02-23-hhs-russia-linked-ransomware-group-
claims-continued-health-care-attacks (last accessed on April 5, 2023).
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       53.    Upon information and belief, the Data Breach affected over 130

organizations that use Fortra’s file transfer platform called GoAnywhere.18

       54.    Upon information and belief, Brightline has sufficient control over its use of

Fortra’s file transfer platform GoAnywhere to properly secure Brightline’s data that it

sends over GoAnywhere.

       55.    Upon information and belief, Fortra’s file transfer platform GoAnywhere is

partially or fully maintained and hosted on Fortra’s own network.19

       56.    Upon information and belief, Plaintiffs’ and Class Members’ affected PII

and PHI was accessible, unencrypted, unprotected, and vulnerable for acquisition and/or

exfiltration by unauthorized individuals.

       57.    It is likely the Data Breach was targeted at Fortra due to its status as large

information technology provider to healthcare providers and other businesses that collect,

create, and maintain both PII and PHI.

       58.    While Brightline claims to have become aware of the Breach as early as

January of 2023, Brightline did not begin notifying some victims of the Data Breach until

April of 2023—almost three months later.


18
  Id.
19
  https://www.goanywhere.com/?code=CMP-
0000002095&ls=717710011&utm_term=fortra%20goanywhere&utm_campaign=Brand+
/+Search+/+Global%2BEN&utm_source=adwords&utm_medium=ppc&hsa_acc=78874
99888&hsa_cam=16466321209&hsa_grp=135712580764&hsa_ad=488204485843&hsa
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r=3&gclid=Cj0KCQjwuLShBhC_ARIsAFod4fLIy63LJVldjzwIajE5iD96oGqaTbA-
yyDmML273CfUeLHVeZe9uTsaAiAPEALw_wcB (last accessed on April 5, 2023).
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       59.      Time is of the essence when highly sensitive PII and PHI is subject to

unauthorized access and/or acquisition. The disclosed, accessed, and/or acquired PII and

PHI of Plaintiffs and Class Members is likely available on the Dark Web. Hackers can

access and then offer for sale the unencrypted, unredacted PII and PHI to criminals.

Plaintiffs and Class Members are now subject to the present and continuing risk of fraud,

identity theft, and misuse resulting from the possible publication of their PII and PHI onto

the Dark Web. Plaintiffs and Class Members now face a lifetime risk of identity theft,

which is heightened here by unauthorized access, disclosure, and/or activity by

cybercriminals on computer systems containing sensitive personal information.

       60.      Following the Breach and recognizing that each Class Member is now

subject to the present and continuing risk of identity theft and fraud, Brightline “advised

impacted individuals of the steps outlined below that they can take to further protect

themselves:

             a. Order Your Free Credit Report…

             b. Upon receiving your credit report, review it carefully…

             c. If you see anything you do not understand, call the credit bureau at the

                telephone number on the report. You should notify the credit bureaus of any

                inaccuracies in your report, whether due to error or fraud, as soon as possible

                so the information can be investigated and, if found to be in error, corrected.

                If there are accounts or charges you did not authorize, immediately notify the

                appropriate credit bureau by telephone and in writing. Information that
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                    cannot be explained should also be reported to your local police or sheriff’s

                    office because it may signal criminal activity…

                 d. If you believe you are the victim of identity theft or have reason to believe

                    your personal information has been misused, you should immediately contact

                    the Federal Trade Commission and/or the Attorney General’s office in your

                    home state, and local law enforcement. You may also contact these agencies

                    for information on how to prevent or minimize the risks of identity theft…

                 e. Placing a Security Freeze… [and]

                 f. Placing a Fraud Alert.”20

           61.      Brightline also stated that, “We encourage you to take advantage of these

protections and remain vigilant for incidents of fraud and identity theft, including regularly

reviewing and monitoring your credit reports and account statements.”21

           62.      Brightline largely put the burden on Plaintiffs and Class Members to take

measures to protect themselves.

           63.      Time is a compensable and valuable resource in the United States. According

to the U.S. Bureau of Labor Statistics, 55.5% of U.S.-based workers are compensated on

an hourly basis, while the other 44.5% are salaried.22



20
     https://www.hellobrightline.com/fortra-data-notice (last accessed April 18, 2023).
21
     Id.
22
  Characteristics of minimum wage workers, 2020, U.S. BUREAU OF LABOR STATISTICS
https://www.bls.gov/opub/reports/minimum-wage/2020/home.htm#:~:text=
In%202020%2C%2073.3%20million%20workers,wage%20of%20%247.25%20per%20h
our (last accessed Oct. 21, 2022); Average Weekly Wage Data, U.S. BUREAU OF LABOR
STATISTICS, Average Weekly Wage Data, https://data.bls.gov/cew/apps/table_maker/v4/
table_maker.htm%23type=1&year=2021&qtr=3&own=5&ind=10&supp=0 (last accessed
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      64.    According to the U.S. Bureau of Labor Statistics’ 2018 American Time Use

Survey, American adults have only 36 to 40 hours of “leisure time” outside of work per

week;23 leisure time is defined as time not occupied with work or chores and is “the time

equivalent of ‘disposable income.’”24 Usually, this time can be spent at the option and

choice of the consumer, however, having been notified of the Data Breach, consumers now

have to spend hours of their leisure time self-monitoring their accounts, communicating

with financial institutions and government entities, and placing other prophylactic

measures in place to attempt to protect themselves.

      65.    Plaintiffs and Class Members are now deprived of the choice as to how to

spend their valuable free hours and seek renumeration for the loss of valuable time as

another element of damages.

      66.    Upon information and belief, the unauthorized third- p a r t y cybercriminals

gained access to Plaintiffs’ and Class Members’ PII and PHI with the intent of engaging

in misuse of the PII and PHI, including marketing and selling Plaintiffs’ and Class

Members’ PII and PHI.

      67.    Brightline also offered credit monitoring services for a period of 24 months.

Such measures, however, are insufficient to protect Plaintiffs and Class Members from the

lifetime risks they each now face. As another element of damages, Plaintiffs and Class



Aug. 2, 2022) (finding that on average, private-sector workers make $1,253 per 40-hour
work week.).
23
    Cory Stieg, You’re spending your free time wrong — here’s what to do to be happier
and more successful, CNBC https://www.cnbc.com/2019/11/06/how-successful-people-
spend-leisure-time-james-wallman.html (Nov. 6, 2019).
24
   Id.
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Members seek a sum of money sufficient to provide Plaintiffs and Class Members identity

theft protection services for their respective lifetimes.

       68.    Brightline had and continues to have obligations created by HIPAA,

reasonable industry standards, common law, state statutory law, and its own assurances

and representations to keep Plaintiffs’ and Class Members’ PII and PHI confidential and

to protect such PII and PHI from unauthorized access.

       69.    Brightline’s Breach Notice letter, as well as its website notice, both omit the

size and scope of the breach. Brightline has demonstrated a pattern of providing inadequate

notices and disclosures about the Data Breach.

       70.    Plaintiffs and the Class Members remain, even today, in the dark regarding

what particular data was stolen, the particular ransomware used, and what steps are being

taken, if any, to secure their PII and PHI and financial information going forward.

Plaintiffs and Class Members are left to speculate as to the full impact of the Data Breach

and how exactly Brightline intends to enhance its information security systems and

monitoring capabilities so as to prevent further breaches.

       71.    Plaintiffs’ and Class Members’ PII and PHI and financial information may

end up for sale on the dark web, or simply fall into the hands of companies that will use

the detailed PII and PHI and financial information for targeted marketing without the

approval of Plaintiffs and/or Class Members. Either way, unauthorized individuals can

now easily access the PII and PHI and/or financial information of Plaintiffs and Class

Members.

Brightline Failed to Comply with FTC Guidelines
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       72.     According to the Federal Trade Commission (“FTC”), the need for data

security should be factored into all business decision-making.25 To that end, the FTC has

issued numerous guidelines identifying best data security practices that businesses, such as

Brightline, should employ to protect against the unlawful exfiltration of PII and PHI.

       73.     In 2016, the FTC updated its publication, Protecting Personal Information:

A Guide for Business, which established guidelines for fundamental data security principles

and practices for business.26 The guidelines explain that businesses should:

               a.    protect the personal customer information that they keep;

               b.    properly dispose of personal information that is no longer needed;

               c.    encrypt information stored on computer networks;

               d.    understand their network’s vulnerabilities; and

               e.    implement policies to correct security problems.

       74.     The guidelines also recommend that businesses watch for large amounts of

data being transmitted from the system and have a response plan ready in the event of a

breach.

       75.     The FTC recommends that companies not maintain PII and PHI longer than

is needed for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for




25
   Start with Security: A Guide for Business, FED. TRADE COMM’N (June 2015),
https://bit.ly/3uSoYWF (last accessed July 25, 2022).
26
   Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N (Oct.
2016), https://bit.ly/3u9mzre (last accessed July 25, 2022).
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suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures.27

         76.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer

data as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission

Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the

measures businesses must take to meet their data security obligations.

         77.    These FTC enforcement actions include actions against healthcare providers

and partners like Brightline. See, e.g., In the Matter of Labmd, Inc., A Corp, 2016-2 Trade

Cas. (CCH) ¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he

Commission concludes that LabMD’s data security practices were unreasonable and

constitute an unfair act or practice in violation of Section 5 of the FTC Act.”).

         78.    Brightline’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to patient PII and PHI constitutes an unfair act or practice

prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

Brightline Failed to Follow Industry Standards

         79.    Despite its alleged commitments to securing sensitive patient data, Brightline

does not follow industry standard practices in securing patients’ PII and PHI.

         80.    As shown above, experts studying cyber security routinely identify



27
     See Start with Security, supra note 46.
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healthcare providers as being particularly vulnerable to cyberattacks because of the value

of the PII and PHI which they collect and maintain.

       81.    Several best practices have been identified that at a minimum should be

implemented by healthcare providers like Brightline, including but not limited to,

educating all employees; strong passwords; multi-layer security, including firewalls, anti-

virus, and anti-malware software; encryption, making data unreadable without a key; multi-

factor authentication; backup data; and limiting which employees can access sensitive data.

       82.    Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the

network ports; protecting web browsers and email management systems; setting up

network systems such as firewalls, switches and routers; monitoring and protection of

physical security systems; protection against any possible communication system; training

staff regarding critical points.

       83.    Brightline failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-

5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the

Center for Internet Security’s Critical Security Controls (CIS CSC), which are all

established standards in reasonable cybersecurity readiness.

       84.    Such frameworks are the existing and applicable industry standards in the

healthcare industry. And Brightline failed to comply with these accepted standards, thus

opening the door to criminals and the Data Breach.
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Brightline Violated HIPAA

       85.    HIPAA circumscribes security provisions and data privacy responsibilities

designed to keep patients’ medical information safe. HIPAA compliance provisions,

commonly known as the Administrative Simplification Rules, establish national standards

for electronic transactions and code sets to maintain the privacy and security of protected

health information.28

       86.    HIPAA provides specific privacy rules that require comprehensive

administrative, physical, and technical safeguards to ensure the confidentiality, integrity,

and security of PII and PHI is properly maintained.29

       87.    The Data Breach itself resulted from a combination of inadequacies showing

Brightline failed to comply with safeguards mandated by HIPAA. Brightline’s security

failures include, but are not limited to:

              a.      Failing to ensure the confidentiality and integrity of electronic PHI

                      that it creates, receives, maintains and transmits in violation of 45

                      C.F.R. § 164.306(a)(1);




28
   HIPAA lists 18 types of information that qualify as PHI according to guidance from the
Department of Health and Human Services Office for Civil Rights, and includes, inter alia:
names, addresses, any dates including dates of birth, Social Security numbers, and medical
record numbers.
29
   See 45 C.F.R. § 164.306 (security standards and general rules); 45 C.F.R. § 164.308
(administrative safeguards); 45 C.F.R. § 164.310 (physical safeguards); 45 C.F.R. §
164.312 (technical safeguards).
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     b.   Failing to protect against any reasonably-anticipated threats or

          hazards to the security or integrity of electronic PHI in violation of 45

          C.F.R. § 164.306(a)(2);

     c.   Failing to protect against any reasonably anticipated uses or

          disclosures of electronic PHI that are not permitted under the privacy

          rules regarding individually identifiable health information in

          violation of 45 C.F.R. § 164.306(a)(3);

     d.   Failing to ensure compliance with HIPAA security standards by

          Brightline’s workforce in violation of 45 C.F.R. § 164.306(a)(4);

     e.   Failing to implement technical policies and procedures for electronic

          information systems that maintain electronic PHI to allow access only

          to those persons or software programs that have been granted access

          rights in violation of 45 C.F.R. § 164.312(a)(1);

     f.   Failing to implement policies and procedures to prevent, detect,

          contain and correct security violations in violation of 45 C.F.R. §

          164.308(a)(1);

     g.   Failing to identify and respond to suspected or known security

          incidents and failing to mitigate, to the extent practicable, harmful

          effects of security incidents that are known to the covered entity in

          violation of 45 C.F.R. § 164.308(a)(6)(ii);

     h.   Failing to effectively train all staff members on the policies and

          procedures with respect to PHI as necessary and appropriate for staff
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                     members to carry out their functions and to maintain security of PHI

                     in violation of 45 C.F.R. § 164.530(b) and 45 C.F.R. § 164.308(a)(5);

                     and

               i.    Failing to design, implement, and enforce policies and procedures

                     establishing physical and administrative safeguards to reasonably

                     safeguard PHI, in compliance with 45 C.F.R. § 164.530(c).

       88.     Simply put, the Data Breach resulted from a combination of insufficiencies

that demonstrates Brightline failed to comply with safeguards mandated by HIPAA

regulations.

The Experiences and Injuries of Plaintiffs

       89.     Plaintiffs and Class Members are the current and former patients of

Brightline.

       90.     Plaintiffs and Class Members are employees of companies who use

Brightline for delivering health services.

       91.     As a prerequisite of receiving treatment, Brightline requires its patients—

like Plaintiffs and Class Members—to disclose their PII and PHI.

       92.     When Brightline finally announced the Data Breach, it deliberately

underplayed the Breach’s severity and obfuscated the nature of the Breach. Brightline’s

Breach Notice sent to patients fails to explain how the breach occurred (what security

weakness was exploited), what exact data elements of each affected individual were

compromised, who the Breach was perpetrated by, and the extent to which those data

elements were compromised.
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       93.    Because of the Data Breach, Brightline inflicted injuries upon Plaintiffs and

Class Members. And yet, Brightline has done little to provide Plaintiffs and the Class

Members with relief for the damages they suffered.

       94.    All the Plaintiffs were injured when Brightline caused their PII and PHI to

be exfiltrated by cybercriminals.

       95.    Plaintiffs entrusted their PII and PHI to Brightline. Thus, Plaintiffs had the

reasonable expectation and understanding that Brightline would take—at minimum—

industry standard precautions to protect, maintain, and safeguard that information from

unauthorized users or disclosure, and would timely notify them of any data security

incidents. After all, Plaintiffs would not have entrusted their PII and PHI to any entity that

used Brightline’s services had they known that Brightline would not take reasonable steps

to safeguard their information.

       96.    Plaintiffs suffered actual injury from having their PII and PHI compromised

in the Data Breach including, but not limited to, (a) damage to and diminution in the value

of their PII and PHI—a form of property that Brightline obtained from Plaintiffs; (b)

violation of their privacy rights; (c) the likely theft of their PII and PHI; (d) fraudulent

activity resulting from the Breach; and (e) present and continuing injury arising from the

increased risk of additional identity theft and fraud.

       97.    As a result of the Data Breach, Plaintiffs also suffered emotional distress

because of the release of their PII and PHI—which they believed would be protected from

unauthorized access and disclosure. Now, Plaintiffs suffer from anxiety about unauthorized
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parties viewing, selling, and/or using their PII and PHI for nefarious purposes like identity

theft and fraud.

       98.     Plaintiffs also suffer anxiety about unauthorized parties viewing, using,

and/or publishing their information related to their medical records and prescriptions.

       99.     Because of the Data Breach, Plaintiffs have spent—and will continue to

spend—considerable time and money to try to mitigate and address harms caused by the

Data Breach.

       Plaintiff Rosa’s Experience

       100.    Plaintiff Rosa first learned of the Breach when he received a notice email

(substantially similar to the Notice) from his employer on April 11, 2023.

       101.    Upon information and belief, Fortra obtained Plaintiff Rosa’s PII and PHI

from Brightline who Plaintiff Rosa’s employer used for delivering health services.

       102.    Shortly after and as a result of the Data Breach, Plaintiff Rosa experienced

an increase in spam and suspicious phone calls, texts, and emails.

       103.    As a result of the Data Breach and at the recommendation of Brightline and

its Notice, Plaintiff Rosa made reasonable efforts to mitigate the impact of the Data Breach,

including but not limited to researching the Data Breach, reviewing credit card and

financial account statements, changing his online account passwords, and monitoring his

credit information.

       104.    Plaintiff Rosa has spent significant time responding to the Data Breach and

will continue to spend valuable time he otherwise would have spent on other activities,
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including but not limited to work and/or recreation.

       105.   Plaintiff Rosa suffered lost time, annoyance, interference, and inconvenience

as a result of the Data Breach and has experienced anxiety and increased concerns for the

loss of his privacy, as well as anxiety over the impact of cybercriminals accessing and using

his PII and PHI and/or financial information.

       106.   Plaintiff Rosa is now subject to the present and continuing risk of fraud,

identity theft, and misuse resulting from their PII and PHI and financial information, in

combination with their names, being placed in the hands of unauthorized third

parties/criminals.

       107.   Plaintiff Rosa has a continuing interest in ensuring that their PII and PHI and

financial information, which, upon information and belief, remains backed up in

Brightline’s possession, is protected and safeguarded from future breaches.

       Plaintiff Watson’s Experience

       108.   Plaintiff Watson first learned of the Breach when he reviewed a notice email

(substantially similar to the Notice), which his employer set to him on April 11, 2023.

       109.   Upon information and belief, Fortra obtained Plaintiff Watson’s PII and PHI

from Brightline who Plaintiff Watson’s employer used for delivering health services.

       110.   Shortly after and as a result of the Data Breach, Plaintiff Watson experienced

an increase in spam and suspicious phone calls, texts, and emails. In particular, Plaintiff

Watson received a fraudulent call where the caller attempted to elicit banking information

from Plaintiff Watson. This caller pretended to be an Amazon representative who needed

to verify his banking information for a pending delivery. In actuality, there was no pending
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delivery as Plaintiff Watson had made no such purchase.

       111.   As a result of the Data Breach and at the recommendation of Brightline and

its Notice, Plaintiff Watson made reasonable efforts to mitigate the impact of the Data

Breach, including but not limited to researching the Data Breach, reviewing credit card and

financial account statements, changing his online account passwords, and monitoring his

credit information.

       112.   Plaintiff Watson has spent significant time responding to the Data Breach

and will continue to spend valuable time he otherwise would have spent on other activities,

including but not limited to work and/or recreation.

       113.   Plaintiff Watson suffered lost time, annoyance, interference, and

inconvenience as a result of the Data Breach and has experienced anxiety and increased

concerns for the loss of his privacy, as well as anxiety over the impact of cybercriminals

accessing and using his PII and PHI and/or financial information.

       114.   Plaintiff Watson is now subject to the present and continuing risk of fraud,

identity theft, and misuse resulting from their PII and PHI and financial information, in

combination with their names, being placed in the hands of unauthorized third

parties/criminals.

       115.   Plaintiff Watson has a continuing interest in ensuring that their PII and PHI

and financial information, which, upon information and belief, remains backed up in

Brightline’s possession, is protected and safeguarded from future breaches.
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Plaintiffs and the Proposed Class Face Significant Risk of Present and Continuing

Identity Theft

       116.   Plaintiffs and Class Members suffered injury from the misuse of their PII and

PHI that can be directly traced to Brightline.

       117.   The ramifications of Brightline’s failure to keep Plaintiffs’ and the Class’s

PII and PHI secure are severe. Identity theft occurs when someone uses another’s personal

and financial information such as that person’s name, account number, Social Security

number, driver’s license number, date of birth, and/or other information, without

permission, to commit fraud or other crimes.

       118.   According to experts, one out of four data breach notification recipients

become a victim of identity fraud.30

       119.   As a result of Brightline’s failures to prevent—and to timely detect—the

Data Breach, Plaintiffs and Class Members suffered and will continue to suffer damages,

including monetary losses, lost time, anxiety, and emotional distress. They have suffered

or are at an increased risk of suffering:

              a.      The loss of the opportunity to control how their PII and PHI is used;

              b.      The diminution in value of their PII and PHI;

              c.      The compromise and continuing publication of their PII and PHI;



30
   More Than 12 Million Identity Fraud Victims in 2012 According to Latest Javelin
Strategy & Research Report, BUSINESSWIRE (Feb. 20, 2013) https://threatpost.com/study-
shows-one-four-who-receive-data-breach-letter-become-fraud-victims-022013/77549/.
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             d.     Out-of-pocket costs associated with the prevention, detection,

                    recovery, and remediation from identity theft or fraud;

             e.     Lost opportunity costs and lost wages associated with the time and

                    effort expended addressing and attempting to mitigate the actual and

                    future consequences of the Data Breach, including, but not limited to,

                    efforts spent researching how to prevent, detect, contest, and recover

                    from identity theft and fraud;

             f.     Delay in receipt of tax refund monies;

             g.     Unauthorized use of stolen PII and PHI; and

             h.     The continued risk to their PII and PHI, which remains in the

                    possession of Brightline and is subject to further breaches so long as

                    Brightline fails to undertake the appropriate measures to protect the

                    PII and PHI in their possession.

      120.   Stolen PII and PHI is one of the most valuable commodities on the criminal

information black market. According to Experian, a credit-monitoring service, stolen PII

and PHI can be worth up to $1,000.00 depending on the type of information obtained.31

      121.   The value of Plaintiffs’ and the proposed Class’s PII and PHI on the black

market is considerable. Stolen PII and PHI trades on the black market for years, and

criminals frequently post stolen private information openly and directly on various “dark




 Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark
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Web, EXPERIAN (Dec. 6, 2017) https://www.experian.com/blogs/ask-experian/heres-how-
much-your-personal-information-is-selling-for-on-the-dark-web/.
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web” internet websites, making the information publicly available, for a substantial fee of

course.

       122.    It can take victims years to spot or identify PII and PHI theft, giving criminals

plenty of time to milk that information for cash.

       123.    One such example of criminals using PII and PHI for profit is the

development of “Fullz” packages.32

       124.    Cyber-criminals can cross-reference two sources of PII and PHI to marry

unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on

individuals. These dossiers are known as “Fullz” packages.

       125.    The development of “Fullz” packages means that stolen PII and PHI from

the Data Breach can easily be used to link and identify it to Plaintiff’s and the proposed

Class’s phone numbers, email addresses, and other unregulated sources and identifiers. In

other words, even if certain information such as emails, phone numbers, or credit card

numbers may not be included in the PII and PHI stolen by the cyber-criminals in the Data


32
   “Fullz” is fraudster-speak for data that includes the information of the victim, including,
but not limited to, the name, address, credit card information, social security number, date
of birth, and more. As a rule of thumb, the more information you have on a victim, the
more money can be made off those credentials. Fullz are usually pricier than standard credit
card credentials, commanding up to $100 per record or more on the dark web. Fullz can be
cashed out (turning credentials into money) in various ways, including performing bank
transactions over the phone with the required authentication details in-hand. Even “dead
Fullz”, which are Fullz credentials associated with credit cards that are no longer valid, can
still be used for numerous purposes, including tax refund scams, ordering credit cards on
behalf of the victim, or opening a “mule account” (an account that will accept a fraudulent
money transfer from a compromised account) without the victim’s knowledge. See, e.g.,
Brian Krebs, Medical Records For Sale in Underground Stolen From Texas Life Insurance
Firm, KREBS ON SECURITY, (Sep. 18, 2014) https://krebsonsecurity.com/tag/fullz/.
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Breach, criminals can easily create a Fullz package and sell it at a higher price to

unscrupulous operators and criminals (such as illegal and scam telemarketers) over and

over. That is exactly what is happening to Plaintiffs and members of the proposed Class,

and it is reasonable for any trier of fact, including this Court or a jury, to find that Plaintiff’s

and other members of the proposed Class’s stolen PII and PHI is being misused, and that

such misuse is fairly traceable to the Data Breach.

          126.   According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet

Crime Report, Internet-enabled crimes reached their highest number of complaints and

dollar losses that year, resulting in more than $3.5 billion in losses to individuals and

business victims.

          127.   Further, according to the same report, “rapid reporting can help law

enforcement stop fraudulent transactions before a victim loses the money for good.”

Brightline did not rapidly report to Plaintiffs and the Class that their PII and PHI had been

stolen.

          128.   Victims of identity theft also often suffer embarrassment, blackmail, or

harassment in person or online, and/or experience financial losses resulting from

fraudulently opened accounts or misuse of existing accounts.

          129.   In addition to out-of-pocket expenses that can exceed thousands of dollars

and the emotional toll identity theft can take, some victims have to spend a considerable

time repairing the damage caused by the theft of their PII and PHI. Victims of new account

identity theft will likely have to spend time correcting fraudulent information in their credit
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reports and continuously monitor their reports for future inaccuracies, close existing

bank/credit accounts, open new ones, and dispute charges with creditors.

       130.   Further complicating the issues faced by victims of identity theft, data thieves

may wait years before attempting to use the stolen PII and PHI. To protect themselves,

Plaintiffs and the Class will need to remain vigilant against unauthorized data use for years

or even decades to come.

       131.   The Federal Trade Commission (“FTC”) has also recognized that consumer

data is a new and valuable form of currency. In an FTC roundtable presentation, former

Commissioner Pamela Jones Harbour stated that “most consumers cannot begin to

comprehend the types and amount of information collected by businesses, or why their

information may be commercially valuable. Data is currency.”33

       132.   The FTC has also issued numerous guidelines for businesses that highlight

the importance of reasonable data security practices. The FTC has noted the need to factor

data security into all business decision-making.34 According to the FTC, data security

requires: (1) encrypting information stored on computer networks; (2) retaining payment

card information only as long as necessary; (3) properly disposing of personal information

that is no longer needed; (4) limiting administrative access to business systems; (5) using

industry-tested and accepted methods for securing data; (6) monitoring activity on


33
   Commissioner Pamela Jones Harbour: Remarks Before FTC Exploring Privacy
Roundtable,        FED.         TRADE         COMMISSION       (Dec.     7,      2009),
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf.
34
     Start With Security, A Guide for Business, FED. TRADE COMMISSION,
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf (last visited Oct. 21, 2022).
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networks to uncover unapproved activity; (7) verifying that privacy and security features

function properly; (8) testing for common vulnerabilities; and (9) updating and patching

third-party software.35

       133.   According to the FTC, unauthorized PII and PHI disclosures are extremely

damaging to consumers’ finances, credit history and reputation, and can take time, money,

and patience to resolve the fallout.36 The FTC treats the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data

as an unfair act or practice prohibited by Section 5(a) of the FTC Act (the “FTCA”).

       134.   To that end, the FTC has issued orders against businesses that failed to

employ reasonable measures to secure sensitive payment card data. See In the matter of

Lookout Services, Inc., No. C-4326, ⁋ 7 (June 15, 2011) (“[Brightline] allowed users to

bypass authentication procedures” and “failed to employ sufficient measures to detect and

prevent unauthorized access to computer networks, such as employing an intrusion

detection system and monitoring system logs.”); In the matter of DSW, Inc., No. C-4157,

⁋ 7 (Mar. 7, 2006) (“[Brightline] failed to employ sufficient measures to detect

unauthorized access.”); In the matter of The TJX Cos., Inc., No. C-4227 (Jul. 29, 2008)

(“[R]espondent stored . . . personal information obtained to verify checks and process

unreceipted returns in clear text on its in-store and corporate networks[,]” “did not require

network administrators . . . to use different passwords to access different programs,


35
  Id.
36
  See Taking Charge, What to Do If Your Identity is Stolen, FED. TRADE COMMISSION, at
3 (2012), https://www.ojp.gov/ncjrs/virtual-library/abstracts/taking-charge-what-do-if-
your-identity -stolen.
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computers, and networks[,]” and “failed to employ sufficient measures to detect and

prevent unauthorized access to computer networks . . .”); In the matter of Dave & Buster’s

Inc., No. C-4291 (May 20, 2010) (“[Brightline] failed to monitor and filter outbound traffic

from its networks to identify and block export of sensitive personal information without

authorization” and “failed to use readily available security measures to limit access

between instore networks . . .”). These orders, which all preceded the Data Breach, further

clarify the measures businesses must take to meet their data security obligations. Brightline

thus knew or should have known that its data security protocols were inadequate and were

likely to result in the unauthorized access to and/or theft of PII and PHI.

       135.   The healthcare industry is a prime target for data breaches.

       136.   Over the past several years, data breaches have become alarmingly

commonplace. In 2016, the number of data breaches in the U.S. exceeded 1,000, a 40%

increase from 2015.37 The next year, that number increased by nearly 45%.38 The following

year the healthcare sector was the second easiest “mark” among all major sectors and

categorically had the most widespread exposure per data breach.39

       137.   Data breaches within the healthcare industry continued to increase rapidly.

According to the 2019 Healthcare Information and Management Systems Society


37
    Data Breaches Increase 40 Percent in 2016, Finds New Report From Identity Theft
Resource Center and CyberScout, IDENTITY THEFT RESOURCE CENTER (Jan. 19, 2017),
https://bit.ly/30Gew91 [hereinafter “Data Breaches Increase 40 Percent in 2016”].
38
    Data Breaches Up Nearly 45 Percent According to Annual Review by Identity Thegt
Resource Center® and CyberScout®, IDENTITY THEFT RESOURCE CENTER (Jan. 22, 2018),
https://bit.ly/3jdGcYR [hereinafter “Data Breaches Up Nearly 45 Percent”].
39
   2018 End-of-Year Data Breach Report, IDENTITY THEFT RESOURCE CENTER (Feb. 20,
2019), https://www.idtheftcenter.org/wp-content/uploads/2019/02/ITRC_2018-End-of-
Year-Aftermath_FINAL_V2_combinedWEB.pdf.
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Cybersecurity Survey, 68% of participating vendors reported having a significant security

incident within the last 12 months, with a majority of those being caused by “bad actors.”40

       138.   The healthcare sector reported the second largest number of breaches among

all measured sectors in 2018, with the highest rate of exposure per breach.41 Indeed, when

compromised, healthcare-related data is among the most sensitive and personally

consequential. A report focusing on healthcare breaches found that the “average total cost

to resolve an identity theft-related incident . . . came to about $20,000,” and that the victims

were often forced to pay out-of-pocket costs for healthcare they did not receive in order to

restore coverage.42 Almost 50 percent of the victims lost their healthcare coverage as a

result of the incident, while nearly 30 percent said their insurance premiums went up after

the event. Forty percent of the customers were never able to resolve their identity theft at

all. Data breaches and identity theft have a crippling effect on individuals and detrimentally

impact the economy as a whole.43

       139.   The healthcare industry has “emerged as a primary target because [it sits] on

a gold mine of sensitive personally identifiable information for thousands of patients at any

given time. From social security and insurance policies to next of kin and credit cards, no




40
   2019 HIMSS Cybersecurity Survey, HEALTHCARE INFORMATION AND MANAGEMENT
SYSTEMS SOCIETY, INC. (Feb. 8, 2019), https://bit.ly/3LJqUr6.
41
   2018 End-of-Year Data Breach Report, IDENTITY THEFT RESOURCE CENTER (Feb. 20,
2019), https://www.idtheftcenter.org/wp-content/uploads/2019/02/ITRC_2018-End-of-
Year-Aftermath_FINAL_V2_combinedWEB.pdf.
42
   Elinor Mills, Study: Medical Identity Theft Is Costly for Victims, CNET (Mar. 3, 2010),
https://cnet.co/33uiV0v.
43
   Id.
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other organization, including credit bureaus, ha[s] so much monetizable information stored

in their data centers.”44

       140.    Charged with handling highly sensitive PII and PHI including healthcare

information, financial information, and insurance information, Brightline knew or should

have known the importance of safeguarding the PII and PHI that was entrusted to it.

Brightline also knew or should have known of the foreseeable consequences if its data

security systems were breached. This includes the significant costs that would be imposed

on Brightline’s customers’ patients as a result of a breach. Brightline nevertheless failed to

take adequate cybersecurity measures to prevent the Data Breach from occurring.

       141.    Brightline disclosed the PII and PHI of Plaintiffs and members of the

proposed Class for criminals to use in the conduct of criminal activity. Specifically,

Brightline opened, disclosed, and failed to adequately protect the PII and PHI of Plaintiffs

and members of the proposed Class to people engaged in disruptive and unlawful business

practices and tactics, including online account hacking, unauthorized use of financial

accounts, and fraudulent attempts to open unauthorized financial accounts (i.e., identity

fraud), all using the stolen PII and PHI.

       142.    Brightline’s use of outdated and insecure computer systems and software that

are easy to hack, and its failure to maintain adequate security measures and an up-to-date

technology security strategy, demonstrates a willful and conscious disregard for privacy,

and has failed to adequately protect the PII and PHI of Plaintiffs and potentially thousands


44
  Eyal Benishti, How to Safeguard Hospital Data from Email Spoofing Attacks, INSIDE
DIGITAL HEALTH (Apr. 4, 2019), https://bit.ly/3x6fz08.
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of members of the proposed Class to unscrupulous operators, con artists, and outright

criminals.

       143.    Brightline’s failure to properly notify Plaintiffs and members of the proposed

Class of the Data Breach exacerbated Plaintiffs’ and members of the proposed Class’s

injury by depriving them of the earliest ability to take appropriate measures to protect their

PII and PHI and take other necessary steps to mitigate the harm caused by the Data Breach.


                             CLASS ACTION ALLEGATIONS

       144.    Plaintiffs bring this action on behalf of themselves and on behalf of all other

persons similarly situated (“the Class”) under Fed. R. Civ. P. 23(b)(2), 23(b)(3), and

23(c)(4).

       145.    Plaintiffs proposes the following Class definitions, subject to amendment as

appropriate:

               All persons residing in the United States whose PII or PHI was
               impacted by the Data Breach—including all persons that
               Brightline sent a notice of the Data Breach to (the “Class”).

       146.    The Class defined above is readily ascertainable from information in

Brightline’s possession. Thus, such identification of Class Members will be reliable and

administratively feasible.

       147.    Excluded from the Class are: (1) any judge or magistrate presiding over this

action and members of their families; (2) Brightline, Brightline’s subsidiaries, parents,

successors, predecessors, affiliated entities, and any entity in which Brightline or their

parent has a controlling interest, and their current or former officers and directors; (3)
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persons who properly execute and file a timely request for exclusion from the Class; (4)

persons whose claims in this matter have been finally adjudicated on the merits or

otherwise released; (5) Plaintiffs’ counsel and Brightline’s counsel; (6) members of the

jury; and (7) the legal representatives, successors, and assigns of any such excluded

persons.

       148.   Plaintiffs reserve the right to amend or modify the Class definition—

including potential Subclasses—as this case progresses.

       149.   Plaintiffs satisfy the numerosity, commonality, typicality, and adequacy

requirements under Fed. R. Civ. P. 23.

       150.   Numerosity. The Class Members are numerous such that joinder is

impracticable. While the exact number of Class Members is unknown to Plaintiffs at this

time, based on information and belief, the Class consists of the approximately one million

individuals whose PII and PHI were compromised by Brightline’s Data Breach.

       151.   Commonality. There are many questions of law and fact common to the

Class. And these common questions predominate over any individualized questions of

individual Class Members. These common questions of law and fact include, without

limitation:

              a.    If Brightline unlawfully used, maintained, lost, or disclosed Plaintiffs’

                    and Class Members’ PII and PHI;

              b.    If Brightline failed to implement and maintain reasonable security

                    procedures and practices appropriate to the nature and scope of the

                    information compromised in the Data Breach;
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     c.   If Brightline’s data security systems prior to and during the Data

          Breach complied with applicable data security laws and regulations

          including, e.g., HIPAA;

     d.   If Brightline’s data security systems prior to and during the Data

          Breach were consistent with industry standards;

     e.   If Brightline owed a duty to Class Members to safeguard their PII and

          PHI;

     f.   If Brightline breached its duty to Class Members to safeguard their

          PII and PHI;

     g.   If Brightline knew or should have known that its data security systems

          and monitoring processes were deficient;

     h.   If Brightline should have discovered the Data Breach earlier;

     i.   If Brightline took reasonable measures to determine the extent of the

          Data Breach after it was discovered;

     j.   If Brightline’s delay in informing Plaintiffs and Class Members of the

          Data Breach was unreasonable;

     k.   If Brightline’s method of informing Plaintiffs and Class Members of

          the Data Breach was unreasonable;

     l.   If Brightline’s conduct was negligent;

     m.   If Plaintiff and Class Members were injured as a proximate cause or

          result of the Data Breach;
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              n.     If Plaintiffs and Class Members suffered legally cognizable damages

                     as a result of Brightline’s misconduct;

              o.     If Brightline breached implied contracts with Plaintiffs and Class

                     Members;

              p.     If Brightline was unjustly enriched by unlawfully retaining a benefit

                     conferred upon them by Plaintiffs and Class Members;

              q.     If Brightline failed to provide notice of the Data Breach in a timely

                     manner; and

              r.     If Plaintiffs and Class Members are entitled to damages, civil

                     penalties, punitive damages, treble damages, and/or injunctive relief.

       152.   Typicality. Plaintiffs’ claims are typical of those of other Class Members

because Plaintiffs’ information, like that of every other Class Member, was compromised

in the Data Breach. Moreover, all Plaintiffs and Class Members were subjected to

Brightline’s uniformly illegal and impermissible conduct.

       153.   Adequacy of Representation. Plaintiffs will fairly and adequately represent

and protect the interests of the Members of the Class. Plaintiffs’ Counsel are competent

and experienced in litigating complex class actions. Plaintiffs have no interests that conflict

with, or are antagonistic to, those of the Class.

       154.   Predominance. Brightline has engaged in a common course of conduct

toward Plaintiffs and Class Members, in that all the Plaintiffs and Class Members’ data

was stored on the same network system and unlawfully and inadequately protected in the
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same way. The common issues arising from Brightline’s conduct affecting Class Members

set out above predominate over any individualized issues. Adjudication of these common

issues in a single action has important and desirable advantages of judicial economy.

       155.   Superiority. A class action is superior to other available methods for the fair

and efficient adjudication of the controversy. Class treatment of common questions of law

and fact is superior to multiple individual actions or piecemeal litigation. Absent a class

action, most Class Members would likely find that the cost of litigating their individual

claims is prohibitively high and would therefore have no effective remedy. The prosecution

of separate actions by individual Class Members would create a risk of inconsistent or

varying adjudications with respect to individual Class Members, which would establish

incompatible standards of conduct for Brightline. In contrast, the conduct of this action as

a Class action presents far fewer management difficulties, conserves judicial resources, the

parties’ resources, and protects the rights of each Class Member.

       156.   The litigation of the claims brought herein is manageable. Brightline’s

uniform conduct, the consistent provisions of the relevant laws, and the ascertainable

identities of Class Members demonstrates that there would be no significant manageability

problems with prosecuting this lawsuit as a class action.

       157.   Adequate notice can be given to Class Members directly using information

maintained in Brightline’s records.

       158.   Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the resolution of
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which would advance the disposition of this matter and the parties’ interests therein. Such

particular issues include those set forth above.

       159.   Brightline has acted on grounds that apply generally to the Class as a whole,

so that Class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a Class-wide basis.

                             FIRST CAUSE OF ACTION
                                      Negligence
                         (On Behalf of Plaintiffs and the Class)
       160.   Plaintiffs re-allege and incorporate by reference paragraphs 1-159 of the

Complaint as if fully set forth herein.

       161.   Brightline required its customers to submit Plaintiffs’ and Class Members’

non-public PII and PHI to receive Brightline’s services.

       162.   By collecting and storing this data in their computer system and network, and

sharing it and using it for commercial gain, Brightline owed a duty of care to use reasonable

means to secure and safeguard their computer system—and Plaintiffs’ and Class Members’

PII and PHI held within it—to prevent disclosure of the information, and to safeguard the

information from theft. Brightline’s duty included a responsibility to implement processes

so they could detect a breach of its security systems in a reasonably expeditious period of

time and to give prompt notice to those affected in the case of a data breach.

       163.   The risk that unauthorized persons would attempt to gain access to the PII

and PHI and misuse it was foreseeable. Given that Brightline holds vast amounts of PII

and PHI, it was inevitable that unauthorized individuals would at some point try to access

Brightline’s databases of PII and PHI.
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       164.   After all, PII and PHI is highly valuable, and Brightline knew, or should have

known, the risk in obtaining, using, handling, emailing, and storing the PII and PHI of

Plaintiffs and Class Members. Thus, Brightline knew, or should have known, the

importance of exercising reasonable care in handling the PII and PHI entrusted to them.

       165.   Brightline owed a duty of care to Plaintiffs and Class Members to provide

data security consistent with industry standards and other requirements discussed herein,

and to ensure that their systems and networks, and the personnel responsible for them,

adequately protected the PII and PHI.

       166.   Brightline’s duty of care to use reasonable security measures arose because

of the special relationship that existed between Brightline and patients, which is recognized

by laws and regulations including but not limited to HIPAA, as well as common law.

Brightline was in a superior position to ensure that its systems were sufficient to protect

against the foreseeable risk of harm to Class Members from a data breach.

       167.   Brightline failed to take appropriate measures to protect the PII and PHI of

Plaintiffs and the Class. Brightline is morally culpable, given the prominence of security

breaches in the healthcare industry. Any purported safeguards that Brightline had in place

were wholly inadequate.

       168.   Brightline breached its duty to exercise reasonable care in safeguarding and

protecting Plaintiffs’ and the Class members’ PII and PHI by failing to adopt, implement,

and maintain adequate security measures to safeguard that information, despite known data

breaches in the healthcare industry, and allowing unauthorized access to Plaintiffs’ and the

other Class Members’ PII and PHI.
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       169.   The failure of Brightline to comply with industry and federal regulations

evinces Brightline’s negligence in failing to exercise reasonable care in safeguarding and

protecting Plaintiffs’ and Class Members’ PII and PHI.

       170.   But for Brightline’s wrongful and negligent breach of their duties to Plaintiffs

and the Classes, patients’ PII and PHI would not have been compromised, stolen, and

viewed by unauthorized persons. Brightline’s negligence was a direct and legal cause of

the theft of the PII and PHI of Plaintiffs and the Classes and all resulting damages.

       171.   The injury and harm suffered by Plaintiffs and Class Members was the

reasonably foreseeable result of Brightline’s failure to exercise reasonable care in

safeguarding and protecting Plaintiffs’ and the other Class members’ PII and PHI.

Brightline knew or should have known that their systems and technologies for processing

and securing the PII and PHI of Plaintiffs and the Classes had security vulnerabilities.

       172.   As a result of this misconduct by Brightline, the PII, PHI, and other sensitive

information of Plaintiffs and the Classes was compromised, placing them at a greater risk

of identity theft and their PII and PHI being disclosed to third parties without the consent

of Plaintiffs and the Classes

                           SECOND CAUSE OF ACTION
                                  Negligence Per Se
                         (On Behalf of Plaintiffs and the Class)
       173.   Plaintiffs re-allege and incorporate by reference paragraphs 1-159 of the

Complaint as if fully set forth herein.

       174.   Under HIPAA, Brightline had a duty to use reasonable security measures to

“reasonably protect” confidential data from “any intentional or unintentional use or
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disclosure” and to “have in place appropriate administrative, technical, and physical

safeguards to protect the privacy of protected health information.” 45 Some or all of the

medical information at issue in this case constitutes “protected health information” within

the meaning of HIPAA.46

       175.   Moreover, under HIPAA, Brightline had a duty to render the electronic PII

and PHI that it maintained as unusable, unreadable, or indecipherable to unauthorized

individuals. Specifically, the HIPAA Security Rule requires “the use of an algorithmic

process to transform data into a form in which there is a low probability of assigning

meaning without use of a confidential process or key.”47

       176.   Plaintiffs and Class Members are within the class of persons that the HIPAA

was intended to protect. And the injuries that Brightline inflicted on Plaintiffs and Class

Members are precisely the harms that HIPAA guards against. After all, the Federal Health

and Human Services’ Office for Civil Rights (“OCR”) has pursued enforcement actions

against businesses which—because of their failure to employ reasonable data security

measures for PHI— caused the very same injuries that Brightline inflicted upon Plaintiffs

and Class Members.

       177.   Under § 17932 of the Health Information Technology for Economic and

Clinical Health Act (“HITECH”), Brightline have duty to promptly notify “without

unreasonable delay and in no case later than 60 calendar days after the discovery of a



45
   45 C.F.R. § 164.530(c)(1).
46
   Id.
47
   45 C.F.R. § 164.304 (defining encryption).
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breach” the respective covered entities and affected persons so that the entities and persons

can take action to protect themselves.48

         178.   Moreover, § 17932(a) of HITECH states that, “[a] covered entity that

accesses, maintains, retains, modifies, records, stores, destroys, or otherwise holds, uses,

or discloses unsecured protected health information (as defined in subsection (h)(1)) shall,

in the case of a breach of such information that is discovered by the covered entity, notify

each individual whose unsecured protected health information has been, or is reasonably

believed by the covered entity to have been, accessed, acquired, or disclosed as a result of

such breach.”

         179.   And § 17932(b) of HITECH states that, “[a] business associate of a covered

entity that accesses, maintains, retains, modifies, records, stores, destroys, or otherwise

holds, uses, or discloses unsecured protected health information shall, following the

discovery of a breach of such information, notify the covered entity of such breach. Such

notice shall include the identification of each individual whose unsecured protected health

information has been or is reasonably believed by the business associate to have been,

accessed, acquired, or disclosed during such breach.”

         180.   Under the Federal Trade Commission Act, Brightline had a duty to employ

reasonable security measures. Specifically, this statute prohibits “unfair . . . practices in or

affecting commerce,” including (as interpreted and enforced by the FTC) the unfair

practice of failing to use reasonable measures to protect confidential data.49


48
     42 U.S.C.A. § 17932(d)(1).
49
     15 U.S.C. § 45.
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       181.   Moreover, Plaintiffs and Class Members’ injuries are precisely the type of

injuries that the FTCA guards against. After all, the FTC has pursued numerous

enforcement actions against businesses that—because of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices—caused the very same

injuries that Brightline inflicted upon Plaintiffs and Class Members.

       182.   Brightline’s duty to use reasonable care in protecting confidential data arose

not only because of the statutes and regulations described above, but also because

Brightline are bound by industry standards to protect confidential PII and PHI.

       183.   Brightline owed Plaintiffs and Class Members a duty to notify them within a

reasonable time frame of any breach to their PII and PHI. Brightline also owed a duty to

timely and accurately disclose to Plaintiffs and Class Members the scope, nature, and

occurrence of the Data Breach. This duty is necessary for Plaintiffs and Class Members to

take appropriate measures to protect their PII and PHI, to be vigilant in the face of an

increased risk of harm, and to take other necessary steps in an effort to mitigate the fallout

of Brightline’s Data Breach.

       184.   Brightline owed these duties to Plaintiffs and Class Members because they

are members of a well-defined, foreseeable, and probable class of individuals whom

Brightline knew or should have known would suffer injury-in-fact from its inadequate

security protocols. After all, Brightline actively sought and obtained the PII and PHI of

Plaintiffs and Class Members.

       185.   Brightline breached their duties, and thus were negligent, by failing to use

reasonable measures to protect Plaintiffs’ and Class Members’ PII and PHI. And but for
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Brightline’s negligence, Plaintiffs and Class Members would not have been injured. The

specific negligent acts and omissions committed by Brightline include, but are not limited

to:

             a.     Failing to adopt, implement, and maintain adequate security measures

                    to safeguard Class Members’ PII and PHI;

             b.     Failing to comply with—and thus violating—HIPAA and its

                    regulations;

             c.     Failing to comply with—and thus violating—HITECH and its

                    regulations;

             d.     Failing to comply with—and thus violating—FTCA and its

                    regulations;

             e.     Failing to adequately monitor the security of its networks and

                    systems;

             f.     Failing to have in place mitigation policies and procedures;

             g.     Allowing unauthorized access to Class Members’ PII and PHI;

             h.     Failing to detect in a timely manner that Class Members’ PII and PHI

                    had been compromised; and

             i.     Failing to timely notify Class Members about the Data Breach so that

                    they could take appropriate steps to mitigate the potential for identity

                    theft and other damages.

      186.   It was foreseeable that Brightline’s failure to use reasonable measures to

protect Class Members’ PII and PHI would result in injury to Class Members. Furthermore,
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the breach of security was reasonably foreseeable given the known high frequency of

cyberattacks and data breaches in the healthcare industry. It was therefore foreseeable that

the failure to adequately safeguard Class Members’ PII and PHI would result in one or

more types of injuries to Class Members.

       187.    Simply put, Brightline’s negligence actually and proximately caused

Plaintiffs and Class Members actual, tangible, injuries-in-fact and damages. These injuries

include, but are not limited to, the theft of their PII and PHI by criminals, improper

disclosure of their PII and PHI, lost benefit of their bargain, lost value of their PII and PHI,

and lost time and money incurred to mitigate and remediate the effects of the Data Breach

that resulted from and were caused by Brightline’s negligence. Moreover, injuries-in-fact

and damages are ongoing, imminent, and immediate.

       188.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered because of the Data Breach.

       189.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Brightline to, e.g., (1) strengthen their data security systems and monitoring procedures;

(2) submit to future annual audits of those systems and monitoring procedures; and (3)

continue to provide adequate credit monitoring to all Class Members for the remainders of

their lives.

                             THIRD CAUSE OF ACTION
                                  Unjust Enrichment
                          (On Behalf of Plaintiffs and the Class)

       190.    Plaintiffs re-allege and incorporate by reference paragraphs 1-159 of the

Complaint as if fully set forth herein.
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       191.   This cause of action is plead in the alternative to the breach of implied

contract theory.

       192.   Plaintiffs and Class Members conferred a monetary benefit on Brightline, by

paying money for healthcare services that relied on Brightline to render certain services, a

portion of which was intended to have been used by Brightline for data security measures

to secure Plaintiffs and Class Members’ PII and PHI. Plaintiffs and Class Members further

conferred a benefit on Brightline by entrusting their PII and PHI to Brightline from which

Brightline derived profits.

       193.   Brightline enriched themselves by saving the costs it reasonably should have

expended on data security measures to secure Plaintiffs and Class Members’ PII and PHI.

Instead of providing a reasonable level of security that would have prevented the Data

Breach, Brightline instead calculated to avoid their data security obligations at the expense

of Plaintiff and Class Members by utilizing cheaper, ineffective security measures.

Plaintiffs and Class Members, on the other hand, suffered as a direct and proximate result

of Brightline’s failure to provide adequate security.

       194.   Under the principles of equity and good conscience, Brightline should not be

permitted to retain the money belonging to Plaintiffs and Class Members, because

Brightline failed to implement appropriate data management and security measures that are

mandated by industry standards.

       195.   Brightline acquired the monetary benefit, PII, and PHI through inequitable

means in that Brightline failed to disclose the inadequate security practices, previously

alleged, and failed to maintain adequate data security.
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       196.   If Plaintiffs and Class Members knew that Brightline had not secured their

PII and PHI, they would not have agreed to give their money—or disclosed their data—to

Brightline or Brightline’s customers.

       197.   Plaintiffs and Class Members have no adequate remedy at law.

       198.   As a direct and proximate result of Brightline’s conduct, Plaintiffs and Class

Members have suffered—and will continue to suffer—a host of injuries, including but not

limited to: (1) actual identity theft; (2) the loss of the opportunity to determine how their

PII and PHI is used; (3) the compromise, publication, and/or theft of their PII and PHI; (4)

out-of-pocket expenses associated with the prevention, detection, and recovery from

identity theft, and/or unauthorized use of their PII and PHI; (5) lost opportunity costs

associated with effort expended and the loss of productivity addressing and attempting to

mitigate the actual and future consequences of the Data Breach, including but not limited

to efforts spent researching how to prevent, detect, contest, and recover from identity theft;

(6) the continued risk to their PII and PHI, which remain in Brightline’s possession and is

subject to further unauthorized disclosures so long as Brightline fails to undertake

appropriate and adequate measures to protect the PII and PHI in their possession; and (7)

future expenditures of time, effort, and money that will be spent trying to prevent, detect,

contest, and repair the impact of Brightline’s Data Breach.

       199.   As a direct and proximate result of Brightline’s conduct, Plaintiffs and Class

Members suffered—and will continue to suffer—other forms of injury and/or harm.
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       200.   Brightline should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiffs and Class Members, proceeds that they

unjustly received from Plaintiffs and Class Members.

                             FOURTH CAUSE OF ACTION
                              Breach of Implied Contract
                         (On Behalf of Plaintiffs and the Class)
       201.   Plaintiffs re-allege and incorporate by reference paragraphs 1-159 of the

Complaint as if fully set forth herein.

       202.   Defendant required Plaintiffs and the Class to provide and entrust their

PII/PHI and financial information as a condition of obtaining services from Brightline.

       203.   Plaintiffs and the Class paid money to Brightline in exchange for goods and

services, as well as Brightline’s promises to protect their protected health information and

other PII and PHI from unauthorized disclosure.

       204.   Brightline promised to comply with HIPAA standards and to make sure that

Plaintiffs’ and Class Members’ PII and PHI would remain protected.

       205.   Through its course of conduct, Brightline, Plaintiffs, and Class Members

entered into implied contracts for Brightline to implement data security adequate to

safeguard and protect the privacy of Plaintiffs’ and Class Members’ PHI and PII and

financial information.

       206.   Brightline solicited and invited Plaintiffs and Class Members to provide their

PHI/PII and financial information as part of Brightline’s regular business practices.

Plaintiffs and Class Members accepted Brightline’s offers and provided their PHI/PII and

financial information to Brightline.
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          207.   As a condition of being direct customers/patients of Brightline, Plaintiffs and

Class Members provided and entrusted their PHI/PII and financial information to

Brightline. In so doing, Plaintiffs and Class Members entered into implied contracts with

Brightline by which Brightline agreed to safeguard and protect such non-public

information, to keep such information secure and confidential, and to timely and accurately

notify Plaintiffs and Class Members if its data had been breached and compromised or

stolen.

          208.   A meeting of the minds occurred when Plaintiffs and Class Members agreed

to, and did, provide its PHI/PII and financial information to Brightline, in exchange for,

amongst other things, the protection of its PHI/PII and financial information.

          209.   Plaintiffs and Class Members fully performed their obligations under the

implied contracts with Brightline.

          210.   Brightline breached the implied contracts it made with Plaintiffs and Class

Members by failing to safeguard and protect their PHI/PII and financial information and

by failing to provide timely and accurate notice to them that their PHI/PII and financial

information was compromised as a result of the Data Breach.

          211.   Brightline further breached the implied contracts with Plaintiffs and Class

Members by failing to comply with its promise to abide by HIPAA.

          212.   Brightline further breached the implied contracts with Plaintiffs and Class

Members by failing to ensure the confidentiality and integrity of electronic protected health

information Brightline created, received, maintained, and transmitted in violation of 45

CFR 164.306(a)(1).
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       213.   Brightline further breached the implied contracts with Plaintiffs and Class

Members by failing to implement policies and procedures to prevent, detect, contain, and

correct security violations in violation of 45 CFR 164.308(a)(1).

       214.   Brightline further breached the implied contracts with Plaintiffs and Class

Members by failing to protect against any reasonably anticipated threats or hazards to the

security or integrity of electronic protected health information in violation of 45 CFR

164.306(a)(2).

       215.   Brightline’s failures to meet these promises constitute breaches of the

implied contracts.

       216.   Furthermore, the failure to meet its confidentiality and privacy obligations

resulted in Brightline providing goods and services to Plaintiffs and Class Members that

were of a diminished value.

       217.   As a direct and proximate result of Brightline’s above-described breach of

implied contract, Plaintiffs and Class Members have suffered (and will continue to suffer)

(a) ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse,

resulting in monetary loss and economic harm; (b) actual identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; (c) loss of the confidentiality of the

stolen confidential data; (d) the illegal sale of the compromised data on the dark web; (e)

lost work time; and (f) other economic and non-economic harm.

       218.   As a result of Brightline’s breach of implied contract, Plaintiffs and the Class

Members are entitled to and demand actual, consequential, and nominal damages.

                                PRAYER FOR RELIEF
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       WHEREFORE Plaintiffs, on behalf of themselves and all others similarly situated,

request the following relief:

       A.   An Order certifying this action as a class action and appointing Plaintiffs as

            Class representatives and the undersigned as Class counsel;

       B.   A mandatory injunction directing Brightline to adequately safeguard the PII

            and PHI of Plaintiffs and the Class hereinafter by implementing improved

            security procedures and measures, including but not limited to an Order:

                i.   prohibiting Brightline from engaging in the wrongful and unlawful

                     acts described herein;

               ii.   requiring Brightline to protect, including through encryption, all

                     data collected through the course of business in accordance with all

                     applicable regulations, industry standards, and federal, state or local

                     laws;

              iii.   requiring Brightline to delete and purge the PII and PHI of Plaintiffs

                     and Class Members unless Brightline can provide to the Court

                     reasonable justification for the retention and use of such information

                     when weighed against the privacy interests of Plaintiffs and Class

                     Members;

              iv.    requiring Brightline to implement and maintain a comprehensive

                     Information Security Program designed to protect the confidentiality

                     and integrity of Plaintiffs’ and Class Members’ PII and PHI;

               v.    requiring Brightline to engage independent third-party security auditors
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           and internal personnel to run automated security monitoring, simulated

           attacks, penetration tests, and audits on Brightline’s systems on a

           periodic basis;

     vi.   prohibiting   Brightline   from   maintaining   Plaintiffs’ and Class

           Members’ PII and PHI on a cloud-based database until proper

           safeguards and processes are implemented;

    vii.   requiring Brightline to segment data by creating firewalls and

           access controls so that, if one area of Brightline’s network is

           compromised, hackers cannot gain access to other portions of

           Brightline’s systems;

   viii.   requiring Brightline to conduct regular database scanning and

           securing checks;

     ix.   requiring Brightline to monitor ingress and egress of all network

           traffic;

     x.    requiring Brightline to establish an information security training

           program that includes at least annual information security training for

           all employees, with additional training to be provided as appropriate

           based upon the employees’ respective responsibilities with handling

           PII and PHI, as well as protecting the PII and PHI of Plaintiffs and

           Class Members;

     xi.   requiring Brightline to implement a system of tests to assess their

           respective employees’ knowledge of the education programs
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             discussed in the preceding subparagraphs, as well as randomly

             and periodically testing employees’ compliance with Brightline’s

             policies, programs, and systems for protecting personal identifying

             information;

      xii.   requiring Brightline to implement, maintain, review, and revise

             as necessary a threat management program to appropriately monitor

             Brightline’s networks for internal and external threats, and assess

             whether monitoring tools are properly configured, tested, and updated;

             and

     xiii.   requiring Brightline to meaningfully educate all Class Members about

             the threats that they face because of the loss of its confidential

             personal identifying information to third parties, as well as the

             steps affected individuals must take to protect themselves.

C.   A mandatory injunction requiring that Brightline provide notice to each

     member of the Class relating to the full nature and extent of the Data Breach

     and the disclosure of PII and PHI to unauthorized persons;

D.   Enjoining Brightline from further deceptive practices and making untrue

     statements about the Data Breach and the stolen PII and PHI;

E.   An award of damages, including actual, nominal, consequential damages, and

     punitive, as allowed by law in an amount to be determined;

F.   An award of attorneys’ fees, costs, and litigation expenses, as allowed by law;
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       G.    An award of pre- and post-judgment interest, costs, attorneys’ fees, expenses,

             and interest as permitted by law;

       H.    Granting the Plaintiffs and the Class leave to amend this Complaint to conform

             to the evidence produced at trial;

       I.    For all other Orders, findings, and determinations identified and sought in this

             Complaint; and

       J.    Such other and further relief as this court may deem just and proper.

                                JURY TRIAL DEMANDED

       Under Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury for

any and all issues in this action so triable as of right.



       Dated: May 2, 2023                    Respectfully Submitted,

                                             /s/ Michael F. Ram

                                             John A. Yanchunis (pro hac vice)
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                                             Marcio W. Valladares (pro hac vice)
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                            Counsel for Plaintiffs and the Class
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                                                                                CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
  TERRANCE ROSA and RYAN WATSON                                                                             BRIGHTLINE, INC.
   (b) County of Residence of First Listed Plaintiff                                                           County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)

 Morgan and Morgan Complex Litigation Group, 711 Van Ness Ave., Ste. 500,
 San Francisco, CA 94102, Tel.: 415.358.6913
II.        BASIS OF JURISDICTION (Place an X in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an X in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                          PTF       DEF                                      PTF       DEF
      1    U.S. Government Plaintiff        3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4       4
                                                 (U.S. Government Not a Party)
                                                                                                                                                            of Business In This State
                                                                                                     Citizen of Another State                2        2     Incorporated and Principal Place     5        5
      2    U.S. Government Defendant        4     Diversity                                                                                                 of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a                 3        3     Foreign Nation                       6        6
                                                                                                     Foreign Country

IV.          NATURE OF SUIT (Place an X in One Box Only)
             CONTRACT                                                 TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                    OTHER STATUTES
      110 Insurance                       PERSONAL INJURY                     PERSONAL INJURY                  625 Drug Related Seizure of         422 Appeal 28 USC § 158         375 False Claims Act
      120 Marine                                                                                                   Property 21 USC § 881           423 Withdrawal 28 USC           376 Qui Tam (31 USC
                                        310 Airplane                        365 Personal Injury – Product
      130 Miller Act                                                            Liability                      690 Other                               § 157                           § 3729(a))
                                        315 Airplane Product Liability
      140 Negotiable Instrument                                             367 Health Care/                             LABOR                       PROPERTY RIGHTS               400 State Reapportionment
                                        320 Assault, Libel & Slander
      150 Recovery of                                                           Pharmaceutical Personal                                                                            410 Antitrust
                                        330 Federal Employers’                                                 710 Fair Labor Standards Act        820 Copyrights
          Overpayment Of                                                        Injury Product Liability                                                                           430 Banks and Banking
                                            Liability                                                          720 Labor/Management                830 Patent
          Veteran’s Benefits                                                368 Asbestos Personal Injury                                                                           450 Commerce
                                        340 Marine                                                                 Relations                       835 Patent─Abbreviated New
      151 Medicare Act                                                          Product Liability
                                        345 Marine Product Liability                                           740 Railway Labor Act                   Drug Application            460 Deportation
      152 Recovery of Defaulted                                             PERSONAL PROPERTY                                                                                      470 Racketeer Influenced &
                                        350 Motor Vehicle                                                      751 Family and Medical              840 Trademark
          Student Loans (Excludes                                           370 Other Fraud                                                                                            Corrupt Organizations
                                        355 Motor Vehicle Product                                                  Leave Act                       880 Defend Trade Secrets
          Veterans)                                                         371 Truth in Lending
                                            Liability                                                          790 Other Labor Litigation              Act of 2016                 480 Consumer Credit
      153 Recovery of                                                       380 Other Personal Property
                                        360 Other Personal Injury                                              791 Employee Retirement                                             485 Telephone Consumer
          Overpayment                                                           Damage                                                              SOCIAL SECURITY
                                                                                                                   Income Security Act                                                 Protection Act
       of Veteran’s Benefits            362 Personal Injury -Medical                                                                               861 HIA (1395ff)
                                            Malpractice                     385 Property Damage Product                                                                            490 Cable/Sat TV
      160 Stockholders’ Suits                                                   Liability                            IMMIGRATION                   862 Black Lung (923)            850 Securities/Commodities/
      190 Other Contract                                                                                       462 Naturalization                  863 DIWC/DIWW (405(g))              Exchange
                                             CIVIL RIGHTS                   PRISONER PETITIONS
      195 Contract Product Liability                                                                               Application                     864 SSID Title XVI
                                        440 Other Civil Rights                                                                                                                     890 Other Statutory Actions
                                                                               HABEAS CORPUS                   465 Other Immigration
      196 Franchise                                                                                                                                865 RSI (405(g))                891 Agricultural Acts
                                        441 Voting                          463 Alien Detainee                     Actions
          REAL PROPERTY                 442 Employment                                                                                             FEDERAL TAX SUITS               893 Environmental Matters
                                                                            510 Motions to Vacate
      210 Land Condemnation             443 Housing/                            Sentence                                                           870 Taxes (U.S. Plaintiff or    895 Freedom of Information
                                            Accommodations                                                                                             Defendant)                      Act
      220 Foreclosure                                                       530 General
                                        445 Amer. w/Disabilities–                                                                                  871 IRS–Third Party 26 USC      896 Arbitration
      230 Rent Lease & Ejectment                                            535 Death Penalty
                                            Employment                                                                                                  § 7609                     899 Administrative Procedure
      240 Torts to Land                                                              OTHER
                                        446 Amer. w/Disabilities–Other                                                                                                                 Act/Review or Appeal of
      245 Tort Product Liability                                            540 Mandamus & Other                                                                                       Agency Decision
      290 All Other Real Property       448 Education
                                                                            550 Civil Rights                                                                                       950 Constitutionality of State
                                                                            555 Prison Condition                                                                                       Statutes
                                                                            560 Civil Detainee–
                                                                                Conditions of
                                                                                Confinement

V.           ORIGIN (Place an X in One Box Only)
      1   Original                  2   Removed from              3      Remanded from           4   Reinstated or           5 Transferred from              6   Multidistrict          8 Multidistrict
          Proceeding                    State Court                      Appellate Court             Reopened                  Another District (specify)        Litigation–Transfer      Litigation–Direct File


VI.          CAUSE OF            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 28 U.S.C. § 1332(d)(2)
             ACTION
                                 Brief description of cause:
              Negligence, Negligence Per Se, Unjust Enrichment, Breach of Implied Contract
VII. REQUESTED IN   CHECK IF THIS IS A CLASS ACTION DEMAND $ 5,000,000.00    CHECK YES only if demanded in complaint:
             COMPLAINT:                     UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:                       Yes        No

VIII. RELATED CASE(S),                                    JUDGE                                                       DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                           SAN JOSE                         EUREKA-MCKINLEYVILLE


DATE 05/02/2023                                           SIGNATURE OF ATTORNEY OF RECORD                                                /s/ Michael F. Ram
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             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”
   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX. Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
       section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
       events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
